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                   Exhibit J
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                    In The Matter Of:

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                                                                                Page 1
               JUDICIAL ARBITRATION AND MEDIATION SERVICES
                 Before:    Charles A. Legge, Judge (Ret.)
                                     --o0o--
                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF CALIFORNIA
                            SAN FRANCISCO DIVISION
                                     --O0O--
      IN RE:    CATHODE RAY TUBE (CRI)             No. 08-5944 SC.
      ANTITRUST LITIGATION,                        MDL No. 1917
      ______________________________               JAMS No. 1100054618
      CRAGO, INC., et al.,          )
                                    )
                   Plaintiffs,      )
                                    )
              vs.                   )
                                    )
      CHUNGHWA PICTURE TUBES, LTD., )
      et al.                        )
                                    )
                   Defendants.      )
      _____________________________ )
      THIS DOCUMENT RELATES TO ALL )
      CASES                         )
      ______________________________)

                                MOTION HEARING
                    __________________________________
                            Thursday, May 26, 2011
                        Two Embarcadero, Suite 1500
                               San Francisco, CA


      REPORTED BY: COREY W. ANDERSON, CSR 4096 (435627)


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                                                                               Page 6
  1                     SAN FRANCISCO, CALIFORNIA
  2                      THURSDAY,     May 26, 2011
  3                               9:54 A.M.
  4                                --o0o--
  5                       P R O C E E D I N G S
  6               THE COURT:    All right.      Let's get started.
  7               Welcome back.      I gather from the full
  8   attendance here this morning that you all attach about
  9   as much significance to this motion, to these motions as
 10   I do.    So I'm glad to have you all.
 11               Now, we do have most everybody here.            We are
 12   not using the star phone this morning for two reasons:
 13   One is it's broken; and the second is that even if it
 14   weren't broken, I wouldn't know how to use it.              So I
 15   think we are good enough on this phone for the number of
 16   people who will be here.
 17               Most all of you have been here before, so you
 18   know where the washrooms are, where the coffee is.                 And
 19   we do have two rooms available down the hallway for your
 20   use as caucus rooms.
 21               If you want to use your computers in here, we
 22   are Wi-Fied.    To get through the code to get to our
 23   Wi-Fi, Sarah's written it on the board up there.              The
 24   magic word is "resolution," so that's what you have got
 25   to type in to get through the process into our Wi-Fi


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  1   system.
  2               If you want to talk with a podium this
  3   morning, if you are more comfortable standing up, you
  4   can get the podium that's right beside me here and
  5   behind me and put it at your desk when you speak.
  6               I think the court reporter has most of your
  7   names.    I see he has a flock of cards here.           So because
  8   of the number, instead of going around and asking you
  9   now for your names, when you rise to talk, would you
 10   please state your name and if at the end of the
 11   proceedings you want to show your appearance here, but
 12   haven't spoken, then be sure you give your card to the
 13   court reporter.
 14               Okay.    Now, we are here for two motions, both
 15   of which concern the by now familiar subject of finished
 16   products.    I believe that the motion has at least
 17   preliminarily and I hope finally resolved the definition
 18   of what the plaintiffs are alleging by way of a finished
 19   products conspiracy, and I'm taking this from page 3 of
 20   their brief in this motion as being a single, unitary
 21   conspiracy that encompassed both CRTs and the finished
 22   products containing them.
 23               So it's not two conspiracies, and it's not
 24   just a conspiracy of CRTs which affected finished
 25   products, but is a conspiracy of both, CRTs and the


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  1   finished products.
  2               Now, as I said, I believe the motion,
  3   particularly the Rule 11 motion, is important to all of
  4   us in this case, and all of you and your clients.               So
  5   I'm not going to cut anybody off in this argument today
  6   unless things are getting just too repetitive, and then
  7   I'll exercise the prerogatives of the Chair.
  8               I have done the reading.         Have I read every
  9   single page of all these exhibits?           No.   But I have
 10   referred the ones, read the ones that you referred to me
 11   that I thought were important.
 12               So let me give us just a little bit of
 13   guidance, and this is not by way of cutting you off or
 14   restricting you from arguing whatever it is you want to
 15   argue, but the particular things that I am concerned
 16   about as I have done the reading.
 17               One is the legal standard for a Rule 11
 18   decision.    I read the two older cases, Townsend and
 19   Unioil, I believe are the two, and I read Keegan.               And I
 20   am very, I don't know what to say about Keegan.              I find
 21   it very confusing.      To me its language is really
 22   contrary to the rule.       But it purports to state a rule.
 23               And I am particularly concerned about its
 24   language that in deciding a Rule 11 motion a judge will
 25   take into consideration not just the evidence that was


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  1   there at the time the pleading was filed, but evidence
  2   that comes in somehow somewhere later.            I find that
  3   principle staggering, to put it bluntly.            But there it
  4   is.   There it is.
  5               Now, plaintiffs, when you argue, I appreciate
  6   with the flow of your argument that at some point in
  7   your argument point to me where you believe there is
  8   actual evidence of an agreement, direct evidence of an
  9   agreement among the defendants to fix the prices of the
 10   alleged products.
 11               Now, if you haven't got that, if you think
 12   that really what instead you are arguing is inferences
 13   and conclusions to be drawn from the evidence you have,
 14   well, that's okay, that's okay, let me know that please,
 15   because I am still searching for the killer piece of
 16   evidence that was in the record that you had before the
 17   complaint was filed.
 18               The structure of the industry has been argued.
 19   And I at first thought that this is kind of a slam dunk
 20   for the plaintiffs, because if we have an industry here
 21   where the CRTs are the most important, biggest, most
 22   expensive part of the finished products, the TV sets,
 23   the monitors, it ought to be pretty clear that certainly
 24   the price of the biggest component affects, I'm going to
 25   use that word artfully, affects the price of the


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  1   finished products from which one might draw an inference
  2   or conclusion that any discussion of setting prices on
  3   CRTs had to necessarily include fixing prices on the
  4   finished products.
  5               But as I read the evidence you folks have
  6   given to me, I'm really not sure that's true.              Seems to
  7   me at least in some that I have been reading that the
  8   causation may work the other way, that the prices that
  9   have been established somehow, somewhere, on the TV sets
 10   and the monitors were really driving what price
 11   increases could be made on the CRTs, that in setting CRT
 12   prices the discussions were concerned with running up
 13   against a ceiling, but from the TVs and the monitors, if
 14   they couldn't raise the internal CRT prices without
 15   running against, up against that ceiling above which
 16   they didn't feel a television set or a monitor could be
 17   marketed.
 18               So I just offer those comments on the
 19   structure of the industry, just to let you know what my
 20   thinking is about it, then obviously indicating a
 21   certain degree of uncertainty.
 22               And defendants, when you come to argue, of
 23   course, argue what you want to argue.            But I'm
 24   particularly interested in your focusing on page 12 of
 25   plaintiffs' arguments, page 12 and following.              They say


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  1   that you admit certain things.          I don't know whether you
  2   do or not and whether there are just language
  3   differences here.      But I wish you would focus on that
  4   and tell me what you think.
  5               Okay.    That's the only guidance I can give you
  6   at the moment.      And so Mr. Kessler, this is your motion,
  7   so I'll give it to you first.         Do you want to speak
  8   where you are from here or do you want to bring the
  9   podium over to speak from, whether -- whichever way you
 10   are comfortable.
 11               MR. KESSLER:      Your Honor, I'll -- I don't need
 12   the podium.
 13               THE COURT:     Okay.
 14               MR. KESSLER:      I am happy to stand if your
 15   Honor would like.
 16               THE COURT:     No, no.
 17               MR. KESSLER:      I am happy to sit if your Honor
 18   would like.     I want to do whatever is most respectful in
 19   this situation.
 20               THE COURT:     Don't worry about respect.          Just
 21   worry about clarity.
 22               MR. KESSLER:      I'll just sit down, if that's
 23   okay.
 24               THE COURT:     Okay.
 25               MR. KESSLER:      I can reach all my papers, I


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  1   don't have to bring them over the podium, do that.
  2               THE COURT:     Okay.
  3               MR. KESSLER:      First of all, good morning, your
  4   Honor.    Jeffrey Kessler, for the purposes of the record.
  5   I represent the Panasonic defendants on this motion.                I
  6   am also arguing on behalf of the Hitachi defendants who
  7   have joined this motion, and I am also arguing on behalf
  8   of the two Samsung entities who have joined into this
  9   motion.
 10               Your Honor, let me start out by saying that
 11   our clients, all of the clients in this motion, were
 12   very --
 13               THE COURT:     Pardon me.     Pardon me.      LGE is not
 14   going to be speaking, they have simply sent their letter
 15   and that's as far as they are going to go today?
 16               MR. KESSLER:      As far as I know, your Honor.
 17               THE COURT:     Okay.    Anybody here representing
 18   LGE?
 19               MR. SHAPLAND:      Here, Eric Shapland on behalf
 20   of LGE.
 21               THE COURT:     Do you plan on speaking, or are
 22   you just --
 23               MR. SHAPLAND:      To the extent that issues
 24   raised in my letter become relevant and you would like
 25   to ask questions about it --


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  1               THE COURT:     Okay.
  2               MR. SHAPLAND:      I am prepared to answer.
  3               THE COURT:     Okay.
  4               Go ahead.     I'm sorry.
  5               MR. KESSLER:      Your Honor, the -- the companies
  6   who joined into this Rule 11 motion did so with great
  7   reluctance and did not do so lightly.            It would have
  8   been our preference, our strong preference to have been
  9   able to work out this issue with the plaintiffs, because
 10   there are some things we are not challenging on this
 11   motion.
 12               Not that we admit, your Honor, that these
 13   things happened.      So that's wrong.       Since we obviously
 14   don't admit that there was an agreement regarding tubes.
 15   Okay, to the extent that plaintiffs have used language
 16   like that, no, we make no such admissions.
 17               But on this motion, we are not challenging
 18   under Rule 11 an allegation of a conspiracy involving
 19   cathode ray tubes, we are not challenging that on this
 20   motion, and we are not challenging an allegation that a
 21   conspiracy involving cathode ray tubes had an effect on
 22   the prices of finished products.
 23               And in fact, we have resolved this matter with
 24   the indirect plaintiffs.        The indirect plaintiffs have
 25   now withdrawn by stipulation all allegations of a


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  1   unitary conspiracy involving both CRTs and finished
  2   products, they have withdrawn all allegations that there
  3   was any conspiracy involving finished products, and they
  4   have agreed to pursue their claims simply against an
  5   allegation of a conspiracy involving tubes with a claim
  6   that it had an effect on finished products.             And we have
  7   no motion against that pending.
  8                Again, I certainly want to make it clear we
  9   don't admit to any such conspiracy.
 10                THE COURT:     All right.
 11                MR. KESSLER:     And no one would do that.
 12                We tried, your Honor, to explore this through
 13   discovery.     And so rather than initially file a Rule 11
 14   motion at the beginning or to do that, we said let's
 15   find out what did the plaintiffs have as a basis for
 16   alleging this conspiracy which we now understand, your
 17   Honor, is a unitary conspiracy affecting both.
 18                I think there was a lot of confusion, I agree
 19   with your Honor, where there was two separate ones or
 20   alternatively a separate in the unitary, but now the
 21   direct plaintiffs I believe have limited their claim to
 22   a unitary conspiracy claim.         At least as I understand
 23   their papers, the same way you read --
 24                THE COURT:     Oh, that's the way I understand
 25   it.


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  1               MR. KESSLER:      Same way you read the papers.
  2               THE COURT:     That's why I sort of read from it
  3   was I talking earlier.
  4               MR. KESSLER:      Right.
  5               THE COURT:     Because I think that's the
  6   definition we have got to use.
  7               MR. KESSLER:      Yes.     I think that's the only
  8   definition we can use right now.
  9               So we tried to find out what is the basis for
 10   that.    So we issued interrogatories, we issued document
 11   requests.     Your Honor will recall the plaintiffs did not
 12   want to add to that.       We had to have a proceeding before
 13   your Honor.     Your Honor ruled it was important to get
 14   this information, both because of the possibility this
 15   might lead to a Rule 11 motion, as it has, and just to
 16   understand the scope of the claims for how this case is
 17   going to be run.
 18               So why do we conclude that we had to file this
 19   motion, reluctantly?       The reason we came to this
 20   conclusion is because by injecting a now unitary
 21   conspiracy claim that also involves finished products,
 22   the plaintiffs have vastly expanded the scope of this
 23   case, we believe without any basis to do so, and this is
 24   true, your Honor, under an objective test or under a
 25   subjective test for Rule 11.


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  1                So while I share some of your confusion about
  2   the Keegan case which seems to be, in its focus on
  3   looking at material today seems to be inconsistent with
  4   the language of the rule, as well as the re-hearing en
  5   banc and Townsend, which should govern the Ninth Circuit
  6   since that was a rehearing en banc, I don't think one
  7   panel can change the standard that was set forth in
  8   Townsend, but for the purposes of this motion it doesn't
  9   matter.
 10                And the reason it doesn't matter is that we
 11   believe -- and I'll go through this -- what the record
 12   now shows is there was no subjective basis, there was no
 13   objective basis, and it doesn't matter whether you look
 14   at the evidence at the time they filed the complaint or
 15   anything else plaintiffs want to point to since that
 16   time.     There still is to this moment as we are sitting
 17   here nothing to suggest that there is any basis to
 18   allege a conspiracy objectively that would extend beyond
 19   the tubes.
 20                And I'll explain why.
 21                THE COURT:     But if the Ninth Circuit law is
 22   that subsequent information can be used in the inquiry,
 23   doesn't it follow from that that I have to give them
 24   discovery rights before entertaining this motion?
 25                MR. KESSLER:     Your Honor, that can't be the


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  1   law in that regard, and I'll explain why.
  2               The Ninth Circuit has also held that if you
  3   wait until summary judgment which would be the end of
  4   the period, says to then move for Rule 11 back at the
  5   time of the complaint, you have waited too long, because
  6   you haven't given the plaintiffs a chance to withdraw
  7   the claims and undo all the injury.
  8               In other words, the injury where we are -- we
  9   are incurring has been -- what has already been very
 10   large expense costs of having to both defend and prepare
 11   to defend against a claim that shouldn't be in the case.
 12               Okay.    If the Ninth Circuit meant that you
 13   have to wait 'til the end of discovery, okay, and then
 14   it turns out let's say at the end of discovery we are
 15   right, there is nothing to support this claim, that
 16   would mean I would be asking for -- and I have no
 17   intention of wanting to get into this position --
 18   millions of dollars in sanctions, because it will have
 19   taken me through all of the discovery that shouldn't
 20   have been in the case in the first place, it would be a
 21   Rule 11 violation at that time, the injury would occur
 22   all the way back to the beginning of the case.
 23               So it just utterly makes no sense to interpret
 24   that that's what Keegan meant.          And it would defeat the
 25   purposes of Rule 11 as set forth in the rule.


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  1                If you look at the notes to Rule 11 and the
  2   history, why was the rule passed?           The rule was passed
  3   very simply for the following reason.            Rule 12 as your
  4   Honor knows takes a liberal view.           It says if you put an
  5   allegation in the complaint, says, and you have to a
  6   assume at that time that the allegations are true, you
  7   have to give the plaintiffs the benefit of all
  8   inferences on a Rule 12 motion.
  9                So that potentially means that if you put in
 10   an allegation, whether it's true or not, you can open
 11   the door to massive discovery, years of litigation,
 12   enormous expense, simply because you have to assume the
 13   allegations are going to be true, says then you have to
 14   give all the inferences to the plaintiffs.
 15                Rule 11 was put in and then modified by the
 16   drafters to put a reasonable check on that effect.                And
 17   the reasonable check was okay, you have to at least have
 18   a reasonable basis, some basis for putting in the
 19   allegations you are making.         Okay.    And you know, so
 20   it's a very logical rule, you know, to prevent frankly
 21   federal court litigation from going wild.
 22                Because think of the Ninth Circuit's rule the
 23   other way.    It could be that a lawyer would just put in
 24   the most frivolous allegations in a complaint.              I'm
 25   talking let's say far more frivolous than anything we


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  1   are imagining here.       Okay.    The most frivolous.       And the
  2   rule would be okay, they are entitled to go to all
  3   discovery, the case goes forward, there is nothing here,
  4   it's completely frivolous, you have to assume that they
  5   are true, and then only at the end do you then get
  6   Rule 11 sanctions after the case has been disrupted in
  7   the courts.     It makes no sense to understand that.
  8               So I think you have to view Keegan as
  9   basically being not intending to state that the rule is
 10   you give plaintiffs, you know, discovery to find out
 11   whether there was a basis for their claims or not.
 12               In fact, if that were true, Rule 11 wouldn't
 13   do anything beyond Rule 12.         In other words, Rule 12
 14   says you give plaintiffs discovery to decide if they can
 15   support a claim and then the remedy is summary judgment.
 16   And that's really plaintiffs' position.
 17               If you look at plaintiffs' position in the
 18   various papers, what they are really saying is they
 19   claim well, we are making a hidden motion to dismiss, so
 20   you should treat it as a motion to dismiss, and they are
 21   entitled to discovery and our remedy is summary
 22   judgment.
 23               Well, with all due respect, Rule 11 has
 24   independent life.      And I think the Ninth Circuit's made
 25   that clear in Townsend.        It's also made it clear if you


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  1   look in the In Re Biala case which we cited as well, a
  2   Ninth Circuit case.       What has to be -- and I'm willing
  3   to go and objectively reasonable, I don't have a problem
  4   with that, so that it's not just the -- what I think
  5   Keegan was focusing on.        If I may, Keegan was focusing
  6   on well, if there was information at the time in the
  7   complaint, but the plaintiffs just did a poor job
  8   investigating, it's not enough they did a poor job
  9   investigating if -- you know, but the information was
 10   there.   Okay.    That's what I think Keegan was saying,
 11   not that you should allow a fishing evidence of
 12   discovery and let's see what happens a year and a half
 13   from now whether they had a basis.
 14               So if they missed something somehow from a
 15   poor investigation, but they found it, say look, here it
 16   is, it existed at the time of the complaint, I have got
 17   it, Keegan was a little troubled by that in terms of
 18   doing it because they have now found the basis for the
 19   case.
 20               But what I'm saying here, your Honor, is that
 21   this moment, they can't mean you have to wait further.
 22   It was Keegan just looked at the time of the motion, it
 23   didn't say wait 'til later in the case.            Okay.
 24               Right now with this motion there is only the
 25   following, and it hasn't changed.           Number one, and most


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  1   importantly, because this is mostly what they rely on,
  2   is did Chunghwa proffer or the Chunghwa documents, in
  3   other words, I don't care which because it doesn't
  4   matter, they have now put in some of the documents
  5   themselves which they didn't have at the time of the
  6   complaint, but I am willing to look at the Chunghwa
  7   documents themselves because they are no different than
  8   what the proffer could have been.
  9               And what those documents reveal is exactly
 10   what Chunghwa stated in its request, in its answers to
 11   the request for admission.         Chunghwa, which is only a
 12   tubes company, so it does not make a single finished
 13   product, said "I have no information," that would be
 14   based on all their documents and all their witnesses, "I
 15   have no information of any conspiracy that would be to
 16   fix the prices of finished products."            Chunghwa just
 17   doesn't know that.
 18               And if you look at their documents, that's
 19   correct.    What the documents that plaintiffs have cited
 20   show -- and we have looked at all the Chunghwa
 21   documents, and you could presume, your Honor, plaintiffs
 22   picked out the ones they thought were best, so let's
 23   assume, you know, that's what the best is, what the best
 24   documents show is that at some meetings -- of tube
 25   manufacturers there was the discussion your Honor


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  1   highlighted, which is gee, what's going on in -- in
  2   television prices, because are we really going to be
  3   able to ask customers to absorb an increase in tube
  4   prices to pay us a higher price if their TV prices,
  5   which it was clear by those documents the two people had
  6   no control over, if their TV prices are going down.
  7   What they were looking at is they were observing the TV
  8   market and saying gee, our customers' TV prices are
  9   going down, how can we justify, do we really think that
 10   they will be able to pay us for this.            So it is exactly
 11   what your Honor thought that's what those documents say.
 12               Now, could that be an objectively reasonable
 13   basis for suggesting that the tube companies were
 14   engaged in a conspiracy to fix the prices of the
 15   televisions?     It's just the opposite.         It shows there
 16   was no control or act by the tube companies over the
 17   price of televisions or monitors, and they just had to
 18   be aware of what that was because it was a barrier to
 19   what they could get the customers to pay.
 20               And this goes, your Honor, to the structural
 21   issue you raised.      And plaintiffs have been very clever
 22   about this.     They keep talking about how they examined
 23   the structure of the industry and the structure of the
 24   industry supports the existence of this agreement.
 25               The truth is, your Honor, when you read the


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  1   complaints, the only industry structure they discuss is
  2   the structure of the tube industry.           And yes, it is
  3   correct, there were a small number of tube
  4   manufacturers, they make various allegations about that.
  5                There are no allegations about the structure
  6   of the television and the monitor industry.             And they
  7   wouldn't rely on such allegations.           Why?   Because many
  8   of the dominant sellers in that industry are not alleged
  9   to have anything to do with this.
 10                So for example, there is no allegation that
 11   Sony television had anything to do with this.              There is
 12   no allegation that Sharp television had anything to do
 13   with this.    There is no allegation that Apple Computer,
 14   HP, Dell, Lenovo, any of the computer companies who made
 15   the monitor screens had anything at all to do with this.
 16                So what the structure allegations were were
 17   again just about the tubes.         And what the facts are, if
 18   you want to talk about the facts now, and they can't
 19   deny these facts, is that there are the market shares in
 20   the finished products are significantly held by people,
 21   says who are not alleged to be part of this at all,
 22   which is exactly why when you look at that document they
 23   are saying well, television prices may not support this
 24   going down.     Well, that's because if Sony says, and
 25   Sharp and others are reducing television prices which


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  1   everyone has to meet in competition in the television
  2   market, including, for example, they say well, some of
  3   our companies are affiliated, yes, Panasonic had a
  4   television company, and it had a separate affiliated
  5   company involved in CRTs, but its television company had
  6   to compete with Sony and Sharp and others, and if TV
  7   prices are going down, they have to meet that
  8   competition.
  9               So again, it's the idea that you could have a
 10   unitary conspiracy simply by saying it to expand the
 11   case, simply because there was a handful of documents
 12   that mentioned the prices of TVs as being a constraint
 13   on what the tube companies could charge can't possibly
 14   be a basis for this.
 15               Now, what else do they cite besides Chunghwa
 16   and the market facts?       Well, the only other thing they
 17   cite is the various government investigations and the
 18   indictments.
 19               Now, first, let me say I agree with
 20   plaintiffs, they are not limited in their claims to what
 21   governments charge.       That's not our argument.         Our
 22   argument is they have said this is what they relied
 23   upon.
 24               So if they have chosen to say that's what they
 25   are relying upon, it can only support what it is about.


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  1   That's the point.
  2               And when you look at all the government
  3   claims, all the indictments, everything they cite,
  4   whether it's the United States or whether it's Europe or
  5   whether it's Japan, whatever they have cited, one thing
  6   is consistent.     It's only about tubes.         The only
  7   reference made that they claim is a reference to
  8   finished products is an impact reference, which is then
  9   in one of the statements -- one of the papers by the
 10   Department of Justice in one of the pleadings says that
 11   this had an impact, says on American consumers
 12   suggesting those consumers could be people who bought
 13   the finished products as well.
 14               Well, again, that's impact.          If you read the
 15   allegations of the government in all those documents
 16   about the agreements, the agreements are only about
 17   either CDTs, in some cases it's only CDTs, sometimes
 18   it's CPTs, some cases there may be claims of both in
 19   some countries, but it's never, is never once finished
 20   products.
 21               So your Honor, what we believe is the case is
 22   that there is a Rule 11 is a rule that has a meaning.
 23   It can't be it has no meaning.          Taking the most extreme
 24   liberal view of the rule, even looking at Keegan, the
 25   most it could mean, the most it could mean in their


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  1   favor is that you look at it and see is there an
  2   objective basis now at this moment, whether I believe
  3   the proper rule is at the time of the complaint because
  4   that's what the rule seems to say and the notes seem to
  5   say, that's my view is the proper rule, I want to be
  6   clear.   The proper rule is the time of the complaint.
  7               But let's assume for the moment it's now,
  8   either then or now, at this moment.            The only evidence
  9   they can present to you is what they presented here.
 10   And what they presented here does not provide an
 11   objective basis for saying the conspiracy extends, the
 12   alleged conspiracy extends beyond the tubes that they
 13   identify.
 14               Now, your Honor, a few more words about this.
 15   First of all, your Honor asked me, you know, to focus in
 16   particular on the admissions they allege on page 1.               So
 17   I guess to make the record very clear, that defendants
 18   do not admit that they attended conspiratorial meetings
 19   during which the prices of CRT tubes were discussed and
 20   agreed upon.     We do not admit that.         They know from our
 21   answers that we deny that.         Okay.
 22               Were there meetings?        Yes.    Do we admit that
 23   there were prices fixed at those meetings?             No.   That's
 24   what that case is about.        Okay.
 25               They say we admit all but a few of the alleged


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  1   conspirators, including all moving defendants who
  2   attended these meetings, manufactured finished products
  3   as well as CRT tubes.       No, we don't admit that.
  4               So for example, the Samsung entity who is here
  5   says only made finished products.           Okay.   My companies
  6   that I represent, one of them was a joint venture for
  7   Toshiba over some of this period of time which made
  8   tubes, and another one of my companies made televisions.
  9               When they say it was part of a vertically
 10   integrated corporate family and admitting vertical
 11   integration of conspirators, no, we don't admit that the
 12   vertical integration has anything to do with a
 13   conspiracy.     There was some vertical integration by some
 14   of the defendants here, and it's very well established,
 15   vertical integration alone couldn't be evidence of a
 16   conspiracy at all.
 17               The third point they make is the effects on
 18   finished product prices and other aspects of the
 19   finished product market or the prices agreed upon by,
 20   for CRTs were discussed at conspiratorial meetings,
 21   admitting that conspirators considered where the
 22   possible CRT price increases were going to be viable
 23   based on the finished product prices."
 24               No, we do not admit three as written.            We
 25   don't admit there was any conspiracy, we don't admit


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  1   that there were output restrictions agreed upon for
  2   CRTs.    All of these are loaded statements that there is
  3   no basis --
  4               THE COURT:     No, no, I'm focusing on the
  5   distinction --
  6               MR. KESSLER:      -- okay.    With respect to this.
  7               THE COURT:     The distinction between finished
  8   products and CRTs.
  9               MR. KESSLER:      Okay.
 10               I guess what I would say we admit, we admit
 11   that the documents they identified from Chunghwa show
 12   that there -- if those documents were -- assuming them
 13   to be true, okay, which I don't have evidence, I don't
 14   have foundation or anything else, but if they were true,
 15   indicate as your Honor observed that there was some
 16   discussion that the competition in televisions would be
 17   a limitation on what tube prices could be charged, which
 18   is the opposite of the unitary conspiracy.
 19               I admit that's what those documents appear to
 20   say, based on the translation that's there.             I can't
 21   verify that because, you know, they are not my
 22   documents, I wasn't at those meetings.            But that is what
 23   those documents appear to say, that TV prices say
 24   limitation because there is no agreement about TV
 25   prices, and tube companies have no ability to control TV


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  1   prices.   That's what at least those few documents would
  2   seem to indicate.
  3                And obviously I don't agree to No. 4, that the
  4   agreements reached at these meetings were expected to,
  5   and did affect, the prices of the finished products.
  6   All we are saying, your Honor, is that we are not
  7   challenging on Rule 11, want to be very clear that they
  8   have stated an allegation against tubes which they claim
  9   affect it.
 10                I think, your Honor, it may very well turn out
 11   that anything involving tubes had no effect on
 12   televisions because the television market was too
 13   competitive, okay, and that it was competition in the
 14   television market or in the monitor market.
 15                So no, we do not admit that.         So basically we
 16   don't admit any of them with respect to that.              Just want
 17   the record to be very clear about that.
 18                At bottom, your Honor, and I think I'm going
 19   to be quiet and let the plaintiffs respond, what they
 20   are doing is speculating.        Their whole thing is
 21   speculation.     Says well, it says if we have enough to
 22   allege a conspiracy about tubes, says they might have
 23   agreed about televisions or monitors because at least
 24   some of them were in this.
 25                And by the way, my company, you know, we don't


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  1   make monitors, we make televisions.           That's another
  2   whole problem about this.        They try to lump it all
  3   together.     They are completely different products.
  4   Okay.    We -- so we are not making any monitors, you
  5   know, and they don't want to distinguish that either.
  6                But putting -- they are really two different
  7   things, just as CDTs are different from CPTs.              You know,
  8   they are for two different uses.
  9                But they are purely speculating, just like
 10   they say well, if somebody is in the LCD case -- and by
 11   the way, Panasonic is not a defendant in the LCD case,
 12   but they lump everybody together.           If someone is in the
 13   LCD case, that factor in that case must mean there is a
 14   basis to allege that they fixed finished products with
 15   television and monitors?        I don't think so, your Honor.
 16   There is no logic about that.         It's pure speculation.
 17                And what are the consequences?         The
 18   consequences are if we don't get these allegations out
 19   of this case, one, I have to hire experts to do work to
 20   study an alleged conspiracy that's unitary involving
 21   televisions and end products at great expense and work
 22   to study that when it's going to have no relevance to
 23   this case.
 24                You are going to have to hear class action
 25   certification motions that are going to be a total


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  1   nightmare because it's not going to be clear, is this
  2   limited to tube purchasers?         No, it's -- I'm talking
  3   about in the direct case now.         On the direct case.        Says
  4   are the purchasers of TVs in the direct case or the
  5   indirect case, are we looking at effect or are we
  6   looking at conspiracy?        What is the claim that we are
  7   going to be fighting on that class certification motion?
  8   It would be impossible to discern.
  9               They want to do discovery, as you'll hear,
 10   where we have to go out not to -- and I want to be clear
 11   about this, we have no problem producing documents about
 12   CPTs, as we have agreed to do.          And if it says something
 13   about televisions on those documents, we are not going
 14   to strike it.
 15               So if as they are speculating there is some
 16   evidence at a discussion of -- of a tube there was some
 17   mention of televisions, they'll get it, because we are
 18   not going to redact the document.           It will be there just
 19   like there is some mentions on televisions in the few
 20   Chunghwa documents they pointed out to you.
 21               But what this discovery fight is about, do we
 22   have to go to separate companies that sold televisions?
 23   And if they had any meeting, says with another company
 24   who sold televisions, so for example, they buy and sell
 25   products to each other, they go to trade associations,


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  1   they do joint ventures, they attend government standard
  2   setting meetings?      We have to go through thousands,
  3   millions of those e-mails, reviewing them, many of which
  4   are in multiple languages, Japanese, Chinese, Korean,
  5   whatever it is, to figure out what to produce in the
  6   case when there is no basis for this allegation?               The
  7   burdens are gigantic for us, the burdens are gigantic
  8   for you, they make the case unmanageable.
  9               This is exactly what we believe was the whole
 10   point of Rule 11.      If Rule 11 doesn't allow relief here,
 11   then it really is meaningless for these -- in terms
 12   of as a gatekeeper on having a basis for allegations in
 13   a complaint.     It makes it meaningless.         It would be you
 14   only can look at Rule 11 at the end of the case when you
 15   are in summary judgment, which makes absolutely no sense
 16   at all the way that rule is structured.
 17               And I do not believe that's what Keegan meant
 18   about that.     And I don't think it could mean that in
 19   light of Townsend says in the en banc decision of the
 20   Ninth Circuit.
 21               Finally, on relief, your Honor, your Honor
 22   has -- the one thing I think everyone agrees, you have
 23   enormous discretion under Rule 11 to decide what's the
 24   appropriate relief.       All the cases say that.         We believe
 25   here the most important, appropriate relief is to strike


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  1   the allegations and basically just put the direct
  2   purchasers in the same position as the indirect.               That's
  3   all we are asking.      The case will go on, case will go
  4   on.   Massive discovery still going to go on.             But it's
  5   plenty massive just limited to the allegations of a tube
  6   conspiracy, and we don't dispute they are entitled to
  7   discovery of the effect of a -- of an alleged tube
  8   conspiracy on the prices of TVs.
  9                So no one is saying they can't do effect
 10   discovery.    But the conspiracy allegations should be
 11   stricken so that the complaint is limited just as the
 12   indirects have agreed.
 13                We have also asked your Honor for monetary
 14   relief, which we believe is appropriate.            If your Honor
 15   is inclined to consider both the forms of relief, what
 16   we would do is put in a fee request, a reasonable fee
 17   request, which would focus, your Honor, at this point we
 18   believe on this motion practice and the discovery motion
 19   practice which related to discovering this.             That's what
 20   I believe at least would be the most appropriate way to,
 21   you know, to narrow to date.
 22                Because the big expense that we are going to
 23   incur if we have to defend these finished products
 24   claims that don't belong here is about to begin now.
 25   You know, it will come up on the motion your Honor is


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  1   going to hear immediately after this.            You know, that's
  2   when the huge expense is going to occur.            Right now we
  3   have the opportunity to end this at an appropriate time.
  4               Thank you, your Honor.        Unless you have any
  5   questions, I think I'll stop at this time.
  6               THE COURT:     All right.     Does any other defense
  7   counsel wish to speak?
  8               MR. SIMMONS:      Just in reply, your Honor.         Ian
  9   Simmons for Samsung Electronics Corporation, Samsung
 10   Electronics of America, your Honor.
 11               I join, we join in everything Mr. Kessler has
 12   said.    Just want to amplify briefly a couple of points.
 13               The first is I think as the reply brief notes,
 14   you want to bear in mind what is the standard for a
 15   conspiracy.     The supreme Court is explicit about this,
 16   and unambiguous in the Monsanto case, when it said a
 17   conspiracy is a conscious commitment designed to achieve
 18   an unlawful objective.
 19               When you take that standard back to this
 20   flurry of meetings that the plaintiffs like to point to,
 21   I think tying that standard to what Mr. Kessler says,
 22   these are meetings about two manufactures, and what can
 23   they do on tubes, if anything, what effect does that
 24   have on the finished products.
 25               These are not meetings, not emphatically


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  1   meetings evincing a conscious commitment to conspire on
  2   finished products.      And for good reason.        Most of the
  3   players at those meetings didn't make finished products.
  4   So I think it's very important to bear in mind the
  5   substantive standard.
  6                The next thing, your Honor, let me just point
  7   out, Mr. Kessler likes to speak of expense and so on,
  8   and defendants may be differently situated on them.
  9                But I can say as I sit here right now my
 10   clients have produced upwards of 600,000 documents.               My
 11   clients make the finished products, and they purchase
 12   the tubes.    We purchase the tubes.         We purchase the
 13   things that are talked about in any of the criminal
 14   resolutions, and we -- as of today we produced about
 15   643,000 documents.      Those relate to finished products.
 16                Prior to the filing of plaintiffs' opposition
 17   in April, we were in the neighborhood of 571,000 pages.
 18   Unless I'm mistaken, I don't see one of our documents
 19   referenced by plaintiffs saying here you go, here --
 20   here is my -- you know, here is my finished products
 21   conspiracy claim.
 22                We have already incurred immense expense on
 23   this finished products phantom.          Will they continue to
 24   bleed us if the motion is denied?           No doubt.     No doubt.
 25   I mean, let me bleed you to the table and force some


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  1   sort -- I mean, that's sadly the -- it's too pervasive
  2   in American litigation.
  3               But some defendants may have produced
  4   something on finished products, some -- we as prior to
  5   their filing under opposition 571,000 pages.              Where is
  6   it?   Where is the finished products conspiracy on the
  7   part of people to buy the tubes?
  8               Final point I'd leave you with, your Honor,
  9   two final points.      And I know I am sounding a little
 10   repetitive.
 11               THE COURT:     I'm sorry, what?
 12               MR. SIMMONS:      Couple of other points.
 13               THE COURT:     Yeah.
 14               MR. SIMMONS:      It's very rare where you get the
 15   amnesty candidate, Chunghwa, answering requests for
 16   admissions like what we put before the court here.
 17   Chunghwa emphatically admitted they have no knowledge or
 18   evidence of a finished products conspiracy.
 19               You know, I spoke even to Joel Sanders of
 20   Gibson Dunn about that when we were serving those.               He
 21   said that's just not -- that's just not on green earth
 22   ground.   So we can't discount the value of those
 23   admissions.
 24               Final point, your Honor, the indirects said
 25   look, it's a tube case.        I am -- my putative class


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  1   members bought finished products and I think they were
  2   impacted by an upstream input conspiracy, I want some
  3   evidence on passthrough and so on.           I don't think there
  4   is a defendant at this table, they can correct me if I
  5   am wrong, who would take issue with that.             But that is a
  6   dramatically different scope of discovery than produce
  7   everything on finished products and the whole thing.
  8               So long-winded way, your Honor, of saying
  9   while I continue to be bled, my clients, maybe, maybe,
 10   but I have already incurred upwards of 600,000 pages of
 11   discovery because, you know, motion is denied, we are
 12   going forward.
 13               I think the defendants are being circumspect
 14   with this motion.      No one is seeking monetary sanctions.
 15   They are simply saying enough is enough, look at what is
 16   before you, look at those requests for admissions by the
 17   party that has been cooperating with opposing counsel.
 18   Look at it.     And we have already incurred immense
 19   expense.    It should stop.
 20               That's -- I'll -- I'll maybe reserve depending
 21   on what is said by the opposing table.            But that's all
 22   I'll say for now.
 23               Thank you for your consideration.
 24               THE COURT:     Any other defendant want to be
 25   heard?


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  1               MR. SHAPLAND:      This is Eric Shapland, your
  2   Honor, on behalf of LG Electronics.           We did not join the
  3   Rule 11 motion, so I didn't have an opportunity to
  4   respond to some of these statements made in plaintiffs'
  5   opposition.
  6               I just wanted to make one footnote point.
  7   Plaintiffs do a lot of lumping together of all the
  8   various different defendants.         And in one place they
  9   provide a list of all those defendants who have been
 10   indicted or whose employees have been indicted, and they
 11   include my client, LG Electronics, in that discussion.
 12   I want to be clear that LG Electronics has not been
 13   indicted, nor have any of its employees.
 14               What plaintiffs are referring to are
 15   indictments against employees of a joint venture which
 16   is a separate company which was created in 2001.               And so
 17   those individuals were not LGE employees.
 18               THE COURT:     All right.     Anybody else on the
 19   defense side?
 20               All right.     Plaintiffs' side.
 21               MR. LEHMANN:      Your Honor?
 22               THE COURT:     Yeah.
 23               MR. LEHMANN:      Mr. Saveri and Mr. Simon were to
 24   discuss the factual components related to this claim.
 25   But given what has gone before and your Honor's express


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  1   concerns about how to interpret the Keegan case, I think
  2   it might be useful to first set the legal framework.
  3               THE COURT:     That's fine.      Whatever way you
  4   want to do it.     Do you want to speak sitting or do you
  5   want the podium?
  6               MR. LEHMANN:      I prefer to just speak here.
  7               THE COURT:     Okay.    That's fine.      Go ahead.
  8               MR. LEHMANN:      Your Honor, I'm going to start
  9   with the Townsend case, the en banc decision of the
 10   Ninth Circuit.
 11               THE COURT:     Yes.
 12               MR. LEHMANN:      And that case establishes that a
 13   filing can be sanctionable under Rule 11 if it's done
 14   either for an improper purpose or is frivolous.              The
 15   Ninth Circuit en banc said frivolousness involves a
 16   two-fold inquiry.      It is both baseless and made without
 17   a reasonable and competent inquiry.
 18               The Ninth Circuit in Townsend also recognized
 19   that there is a sliding scale here in terms of the
 20   circumstances of the case and the type of pleading that
 21   is being attacked under Rule 11.          You would apply a
 22   different standard with respect to a pleading submitted
 23   in connection with summary judgment than you would with
 24   respect to a complaint.
 25               The Ninth Circuit in Townsend en banc said


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  1   this:    If the relevant facts are in control of the
  2   opposing party, more leeway must be given to make
  3   allegations in the early stages of litigation that may
  4   not be well grounded.
  5                In a similar vein, leeway should be given to
  6   make allegations relating to an opposing party's
  7   knowledge, purpose, or intent if the case is one in
  8   which a prudent lawyer to be safe would name a number of
  9   defendants such as in a complex product liability case.
 10   Imprecision at the outset of the litigation should be
 11   tolerated.
 12                How does Keegan interpret Townsend?           The court
 13   in Keegan read Townsend as what it called an "objective
 14   objective standard" that turns on a conjunctive filing
 15   of both baselessness and lack of reasonable inquiry.
 16   But what does that mean?
 17                I think the fair reading of Keegan -- and it's
 18   directly derived from Townsend -- is that an attorney
 19   cannot be sanctioned for a complaint that is not
 20   well-founded so long as he or she conducted what a
 21   reasonable person would view as a reasonable inquiry.
 22                Likewise, under the logic of Keegan, derived
 23   from Townsend, an attorney can't be sanctioned for a
 24   complaint which is well-founded, but the attorney failed
 25   to conduct a reasonable inquiry to know that it was


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  1   well-founded.
  2                The objective objective test as viewed in
  3   Keegan means that you don't rely solely on what the
  4   plaintiffs knew what they filed the lawsuit.              The court
  5   said that under that test, for example, the fact that an
  6   attorney didn't rely in certain cases before raising a
  7   claim that showed that the claim was non-frivolous was
  8   irrelevant, because it's not a subjective inquiry, it's
  9   an objective inquiry as to both baselessness and lack of
 10   due diligence.
 11                And consider the facts that were involved in
 12   Keegan.     There, there was a securities suit filed in
 13   1991.     It turned out as discovery progressed there was a
 14   scientific study in 1989 that supported the theories
 15   advanced in the plaintiffs' suit about why the
 16   securities filings of the defendant were inaccurate and
 17   misleading.
 18                The court below, the district court, said too
 19   bad, you have to look at what the plaintiffs
 20   subjectively relied on in 1991, and even if they would
 21   have been right under that 1989 study, if they didn't
 22   rely on it, they should be sanctioned.            The Ninth
 23   Circuit said no, that's incorrect.
 24                So what's the takeaway from Keegan?           You can't
 25   grant a Rule 11 motion if there existed evidence of


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  1   which the plaintiffs were unaware at the time of the
  2   filing and on which they didn't rely that would support
  3   their claim and establish that their claims were not
  4   baseless.    That would include, for example, in the
  5   context of this case evidence of discussions between
  6   defendants on finished product that might be in these
  7   500,000 pages, which we are only in the process of now
  8   starting to review, it might be in the documents that
  9   are going to be produced by other defendants that we
 10   haven't yet received because you have to look at all of
 11   the evidence that would have been available and on which
 12   they could have relied at the time they filed the
 13   complaint, and we are talking about documents that
 14   obviously antedated the complaint in 2009.
 15               So Keegan to my mind flows directly from
 16   Townsend and states the correct rule.            It says you
 17   shouldn't be looking at the subjective intent or
 18   knowledge of the plaintiffs who filed the claim, you
 19   should be looking about what's objectively reasonable,
 20   and part of that inquiry would include evidence that
 21   existed, but was unknown to and not relied on by the
 22   plaintiffs at the time they made their claim.
 23               THE COURT:     Well, is Mr. Kessler correct,
 24   then, that no Rule 11 motion could ever be made until
 25   you are at least beyond the discovery stage and into


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  1   motions for summary judgment?
  2               MR. LEHMANN:      Well, I'll tell you, in Keegan
  3   it wasn't at the point of summary judgment.             Judge Conti
  4   in the Hayes Microcomputer case said citing this
  5   conjunctive standard that it's a difficult standard to
  6   meet, and the moving party rarely meets it.
  7               Let me overlay something else on top of this.
  8               THE COURT:     Well now, wait a minute.         Answer
  9   my question.
 10               MR. LEHMANN:      The answer, your Honor --
 11               THE COURT:     Does Keegan entitle you to all the
 12   discovery you want on all the issues in the complaint
 13   and they can't be reached by a Rule 11 motion until all
 14   that discovery is finished?
 15               MR. LEHMANN:      In my view, the holding of
 16   Keegan is such if they want to file their Rule 11
 17   motion, they should do it at the time of summary
 18   judgment, not now.
 19               And there is another reason why I would say
 20   that.    This is an antitrust case involving allegations
 21   of conspiracy.     The Ninth Circuit has said that the
 22   evidentiary requirements imposed by Rule 11 must be
 23   applied with particular latitude in antitrust cases
 24   involving conspiracy allegations.
 25               In the decision in the Community Electrical


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  1   Services case cited in our brief, the court said the
  2   antitrust aspects of this case also affect our
  3   determination under Rule 11.         We acknowledge the lenient
  4   evidentiary requirements for proving a conspiracy
  5   violating antitrust laws.        Federal courts grant wide
  6   latitude in concluding conspiracy or collusion from
  7   parallel conduct and the inferences drawn from the
  8   circumstances.
  9               We grant summary judgment less frequently in
 10   the antitrust context in part because the alleged
 11   conspirators control the proof.          The less demand -- this
 12   less demanding standard should also apply under Rule 11
 13   to evaluate the associated documents.            That's 869 F.2nd
 14   1235 at 1246.
 15               Townsend disagreed with Community Electric on
 16   another point, but not on this point.            And this holding
 17   in Community Electric has been followed by the Ninth
 18   Circuit in an opinion as recently as 1997, it's an
 19   unpublished opinion, so we didn't include it in our
 20   brief.   But if your Honor wants to see it, it's 1997
 21   Westlaw 76177, Hilo versus BP Exploration.
 22               Other courts besides the Ninth Circuit take a
 23   similar liberal view of Rule 11 in the context of
 24   pleading antitrust conspiracies.          The Third Circuit held
 25   this in the Mary Ann Pensiero case, 847 F.2nd 90 at page


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  1   95, cited in our brief.        Proving a conspiracy is a
  2   usually difficult and often impossible without resort to
  3   discovery procedures.       This is particularly true in
  4   antitrust actions where the proof is largely in the
  5   hands of the alleged conspirators.           A requirement that
  6   counsel before filing a complaint secure the type of
  7   proof necessary to withstand a motion for summary
  8   judgment would set a prefiling standard beyond that
  9   contemplated by Rule 11.        At the time plaintiffs'
 10   counsel filed the complaint here he knew facts that
 11   supported a reasonable suspicion of cooperation between
 12   defendants and other parties who could have been
 13   expected to benefit from the defendant's intransigence.
 14               These factual circumstances and the rational
 15   inferences that may be drawn from them convince us that
 16   allegations of the first count comported with Rule 11's
 17   prefiling investigation requirement.
 18               That ties into another point that needs to be
 19   considered here.      Under the applicable Ninth Circuit
 20   standards as set forth in the Met Life case, you don't
 21   have to have, you don't have to have a smoking gun in
 22   order to get past a Rule 11 motion with the complaint.
 23   You don't need killer evidence.          You can rely on
 24   inference, you can rely on inferences that would be
 25   drawn from conclusions.        All you need is some evidence.


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  1               The Met Life case which we cited extensively
  2   in our brief makes this point.          It says that to satisfy
  3   a Rule 11, a factual allegation need only have some
  4   evidentiary support.       I'm citing Met Life 2010 Westlaw
  5   5559693 at pages 10 and following.
  6               An attorney satisfies his or her burden under
  7   Rule 11 by confirming that some evidence supports their
  8   claim, his or her claims.          For Rule 11 purposes the
  9   allegation merely must be supported by some evidence.
 10   Because we are unable to say that plaintiffs have had no
 11   factual basis for the allegation we cannot conclude that
 12   plaintiffs violated Rule 11's factual injury.
 13               For purposes of Rule 11, circumstantial
 14   evidence and the reasonable inferences drawn from that
 15   evidence are treated as evidentiary support to overcome
 16   a Rule 11 motion.
 17               You don't need killer evidence when you file
 18   an antitrust complaint.        You certainly don't need it to
 19   avoid a Rule 11 motion based on that complaint.
 20               I hand it over to my colleagues.
 21               THE COURT:     Okay.
 22               MR. GUIDO SAVERI:        Your Honor, I'd like to
 23   make a few statements before we get things going.               You
 24   mentioned what the standard was.          What Mr. Kessler in
 25   effect has said, and what he's argued is, a motion for


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  1   summary judgment.      And that is not a proper motion for a
  2   Rule 11 as indicated by the advisory notes under
  3   Rule 11.
  4                His whole thrust is that you don't have a
  5   case, and consequently you should grant the motion.               We
  6   do -- we have alleged certain things in our complaint,
  7   and we are not -- eventually we should be given the
  8   right to prove those things.         And Mr. Kessler's making
  9   the motion that he should make at the end of the case.
 10                And then I want to start talking about
 11   standards.    I view this Rule 11 motion as an insult to
 12   me and to my co-counsel.        It violates the purpose of
 13   Rule 11 and was filed for improper motives, as discussed
 14   below.
 15                In ruling on a Rule 11 motion, the court must
 16   consider the signage credibility, the signers'
 17   credibility, the persons who signed that complaint.
 18                Judge Conti was part of the appellate panel in
 19   Rofact International, Inc. versus Hitachi, 931 F.2nd,
 20   147 Fed Circuit 1990, where it was stated that, quote
 21   "Considering whether a complaint was supported by fact
 22   and law to the best of the signer's knowledge,
 23   information, and belief, a court must make some
 24   assessment of the signer's credibility.            And a district
 25   court's ruling that a litigant's position is factually


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  1   well grounded and legally tenable for Rule 11 purposes
  2   is similarly fact specific."         And he was quoting from
  3   the U.S. Supreme Court's opinion in Cooter versus Dell,
  4   496 U.S. 384 1990.
  5               Now, I have been practicing plaintiffs'
  6   antitrust class action law since 1959, and I have
  7   settled or won many cases and obtained collectively
  8   billions of dollars for classes.          I was selected by the
  9   State Bar Of Unfair Competition and antitrust section as
 10   lawyer of the year in 2007.         I have testified before the
 11   federal Judiciary Committee on antitrust matters, and I
 12   have lectured on antitrust matters before the Federal
 13   Practice Institute and other lawyers associations.
 14               Without being boastful, I believe I have a
 15   reputation for poverty, honesty, and the ethical
 16   practice of the law.
 17               I have filed more than 100 antitrust
 18   complaints in my career.        Many of them were based on
 19   government investigations and many were not.              I have
 20   never filed a complaint in bad faith, nor have I ever
 21   been accused of doing so.        Such a motion impugns my
 22   integrity and those of my co-counsel.
 23               The consolidated complaint in this case was
 24   signed by the most prominent and experienced antitrust
 25   attorneys in the United States.          The executive committee


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  1   alone, alone is composed of the following attorneys and
  2   firms, and I'm going to list six or seven of them that
  3   are most prominent and best class action antitrust
  4   attorneys in the United States and have been so for the
  5   past 30 years.
  6               In fact, Mr. Cocette, who is on a steering
  7   committee and signed this complaint, was recently
  8   inducted into the Trial Lawyer Hall of Fame for 2011.
  9   It is the most prestigious trial lawyer association in
 10   the United States.
 11               Joseph Cotchett, Michael Lehmann of the
 12   Hausfeld office, his office has been lead counsel in I
 13   don't know how many cases, and they know what they are
 14   doing.
 15               Richard Heimann of the Lieff Cabraser office
 16   is lead counsel in LCD, and is a very prominent
 17   antitrust lawyer.
 18               Bruce Simon of Pearson, Simon, Warshaw, Penny,
 19   he is the lead counsel in LCD, and his background is
 20   impeccable on antitrust litigation.
 21               Laddie Montague out of Philadelphia is one of
 22   the leading attorneys in the United States on antitrust
 23   litigation, and is lead counsel in many cases, including
 24   a chocolate case back East.
 25               Joseph Bruckner of Lockridge, Grindal and


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  1   Nauren in Minneapolis is of the same kind, has been lead
  2   counsel in many cases in the United States.
  3               And Michael Free of Free, Scanner, London, and
  4   Million in Chicago has been lead counsel in many cases.
  5   In fact, Mr. Freed and I were lead counsel in a brand
  6   name prescription drug case in front of Judge Kocoras
  7   that we tried in Chicago eight or nine years ago.               That
  8   case did not have any government basis allegations or
  9   anything else.     We developed that case and we settled it
 10   for $735 million.      We went to trial, we lost it on a
 11   trial, it was affirmed on appeal.           But Mr. Freed is one
 12   of the most prominent attorneys in the business.
 13               So the point that I'm making, if you read what
 14   Conti says, you have got to look at the credibility of
 15   the lawyers.
 16               So we don't file actions in bad faith.             And
 17   that is the allegation in this complaint, that we have
 18   filed this action in bad faith.
 19               The present Rule 11 motion is a fragrant abuse
 20   of Rule 11, and is the type of motion specifically
 21   criticized by the advisory committee notes to Rule 11,
 22   which state that, quote, "Rule 11 should not be employed
 23   as a discovery device or to test the legal sufficiency
 24   of all allegations in the pleadings, and that other
 25   motions, other motions are available for these


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  1   purposes."
  2                And that's exactly what Mr. Kessler and his
  3   group are doing.      And it's interesting to note that only
  4   three law firms have filed the Rule 11 motion in this
  5   case, all the other defendants have not filed it.
  6                The defendants here have tried three times to
  7   get the allegations of the direct purchaser's complaint
  8   overturned, once before your Honor, again before
  9   Judge Conti and seeking review of your Honor's decision,
 10   and a third time in seeking an interlocutory appeal.
 11   All these efforts failed.
 12                Rather than fairly litigating the issues
 13   framed by the complaint, a subset other than the three
 14   here, defendants have chosen the tactic of using this
 15   Rule 11 motion as another thinly disguised dismissal
 16   attempt.     That's what they are trying to do.           It's a
 17   collateral attack, a collateral attack on what your
 18   Honor ruled, what Judge Conti ruled, and what the Ninth
 19   Circuit ruled.
 20                The court should not tolerate this conduct.
 21   In assessing this latest motion, the court should keep
 22   in mind that counsel for Panasonic has a pattern and a
 23   practice of making un-meritorious Rule 11 motions as
 24   reflected in footnote 2 in our brief.
 25                Also, this motion is not a discovery motion.


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  1   It does not relate to the scope of discovery that
  2   plaintiffs are entitled to under the liberal rules of
  3   discovery to prove their case.          That is a discovery
  4   issue which is being separately argued, and it's going
  5   to be argued a little later.         And it gets into the
  6   number of custodians, how many custodians do you really
  7   need to get into this question of finished products.
  8               And as Mr. Savari will argue later, we have
  9   worked that problem out with every defendant.              And it
 10   covers pursuant to the -- to your order and it covers
 11   finished products.      We worked out a custodian basis with
 12   everybody, every defendant in this case on finished
 13   products with the exception of Mr. Kessler.
 14               It is plaintiffs' position that discovery
 15   should be broad enough to permit them to fully discover
 16   the issues presented by the complaint and should not be
 17   truncated by unfounded arguments of burden which are
 18   universally raised by defendants in cases of this kind
 19   by the use of adjectives such as "massive, global," and
 20   similar adjectives in an effort, in an effort to mislead
 21   a court into improperly limited discovery simply because
 22   in doing so it would make the case easier and perhaps
 23   shorter, but at the same time depriving the plaintiffs
 24   of the discovery that they are entitled to in order to
 25   prove their case.


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  1                Like DRAM, SRAM and LCD, the CRT is a global
  2   conspiracy involving both cathode ray tubes and finished
  3   products.     And a court should not deprive plaintiffs of
  4   the discovery they are lawfully entitled to by the
  5   defendants.
  6                The length of the class period, the length of
  7   the class period and the products involved and the
  8   global nature of the conspiracy were created by the
  9   unlawful conduct of the defendants, not by us, and the
 10   plaintiffs should not be penalized because of it.               This
 11   case is not different from what happened in DRAM, SR and
 12   LCD.     These are global conspiracies.
 13                And the nature of the cases that we have
 14   throughout the United States like the air passenger case
 15   and the transport case back in New York involving the
 16   airlines, they are all global conspiracies.             The
 17   antibiotics case was a global conspiracy.             You cannot
 18   cut these cases down, because they are global
 19   conspiracies.
 20                And the defendants always come in with these
 21   arguments, they are massive, we have got to do a lot of
 22   work, and they have all been rejected because they are
 23   global conspiracies which affect everything, and you
 24   can't curtail the discovery in a case on a basis of
 25   so-called "massiveness."        These cases are big and


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  1   require a lot of work.
  2                To violate Rule 11, a pleading must have been
  3   filed without a reasonable investigation.             Under all the
  4   circumstances, and -- and it must be objectively
  5   baseless.    And we refer the court to the Townsend and
  6   Keegan cases, and specifically to Judge Conti's decision
  7   in the Ray Hayes Microproducts case.
  8                The allegations in the consolidated complaint,
  9   the allegations of the consolidated complaints are
 10   neither objectively baseless, nor made with a reasonable
 11   investigation under all the circumstances.
 12                In other words, the -- the allegations of our
 13   complaint are neither objectively baseless, nor were
 14   made without a reasonable investigation of all the
 15   circumstances.
 16                Plaintiffs' extensive prefiling investigation
 17   covered substantial evidence that included finished
 18   products.    Its prefiling investigation was extensive and
 19   included the following:        An extensive oral proffer from
 20   a participant in the conspiracy, defendant Chunghwa.
 21   Chunghwa identified the participants and provided the
 22   dates of over 500 meetings, described the different
 23   types of meetings and explained the typical matters
 24   discussed.
 25                It provided an evidentiary basis for alleging


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  1   that the conspiracy including finished products.               As an
  2   example, the CRT prices agreed upon at the meetings
  3   apply to internal, internal transactions of the
  4   vertically integrated conspirators; that is, those that
  5   also manufactured TVs and monitors as well as to third
  6   parties.     These internal sales constitute the majority
  7   of defendants' sales of CRTs.
  8                Now, Mr. Simon talked about his client.            And I
  9   don't want to get off the tangents.
 10                MR. SIMON:    Ian Simmons.      Ian Simmons.      Not
 11   Simons.
 12                MR. SAVERI:    Ian Simmons.
 13                MR. SIMON:    There is a big difference.
 14                MR. SAVERI:    And he makes a big deal that his
 15   client doesn't manufacture tubes, it just manufactures
 16   finished products, and he is a big victim of the
 17   conspiracy.
 18                So on behalf of Samsung, he is going to sue
 19   his parent who just pled guilty in front of Judge Alsup
 20   last week.     So he is going sue his client, another
 21   Samsung subsidiary, for fixing the prices of the product
 22   that it sold to his client, the other Samsung person.
 23   And presumably when he does that he will have to take
 24   the deposition of the chief executive officers and
 25   managing pricing agents of Samsung, the parent of his


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  1   company.     And I'd like to see that when that happens.
  2                So these arguments that they are making are so
  3   ridiculous that they are absurd.          This is why we are
  4   talking about you have to look at the internal
  5   situation.
  6                One Samsung company makes the tubes, it sells
  7   it to another Samsung who takes those tubes, puts the
  8   increased price in the finished product, sells that
  9   product at a high price, and steals money from my
 10   client.    And for them to come in and say they are
 11   victims is the most ridiculous statement I have ever
 12   seen.
 13                I want to be present when he takes the
 14   deposition of the president of the parent company.               And
 15   that theory and idea permeates a lot of these cases
 16   because one company manufactures the product and sells
 17   to the other product, and then it goes on.
 18                And in that connection, it's a little late,
 19   but I want to read to you a statement about
 20   conspiracies.     You talked about direct evidence.
 21   Seldom, seldom in antitrust case do you ever find direct
 22   evidence of a conspiracy.        And I have been in these
 23   cases for many years.       And I don't know of anyone, maybe
 24   one exception, that can find direct evidence of people
 25   agreeing all right, let's sit down, fix this.


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  1   Everything is circumstantial.         You have got to prove a
  2   conspiracy by circumstantial evidence.            That is the only
  3   way you can do it.
  4               And when you put all the pieces together
  5   sufficiently so to let a jury determine whether or not a
  6   conspiracy existed, we do not have to prove direct
  7   evidence.
  8               In fact, as I said, the experience in all
  9   these cases, in all these major cases, in the DRAM case,
 10   in the LCD case, in the antibiotic case, in brand name
 11   prescription drug cases, all involving circumstantial
 12   evidence cases.
 13               And in that connection, your Honor, I want to
 14   read to you one small paragraph of a case, United States
 15   versus Consolidated Packaging Company, 575 F.2nd 117 at
 16   126, Seventh Circuit, 1978.         And this is what the
 17   appellate court said.       This is a case where the
 18   government tried the plaintiff, he was convicted, and he
 19   took an appeal.      And this is what the court says:           "The
 20   law has some obligation to keep up with the ingenuity
 21   and subtlety of sophisticated businessmen, to keep up
 22   with the ingenuity and subtlety of sophisticated
 23   businessmen.     If persons devise some subtle, unique form
 24   of conspiracy tailored to best serve their own purposes
 25   which leaves few tracks or fingerprints, it may violate


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  1   the law, even though it cannot be easily accommodated in
  2   the familiar mode of a simple and limited conspiracy."
  3               That is the best statement that I have seen in
  4   my years of what goes on in conspiracy.            You get these
  5   high class guys that get together and try to beat the
  6   system.
  7               In fact, the documents that we will -- that
  8   Chunghwa produced, there is one great one that says how
  9   to -- how to avoid the antitrust laws.            And then they
 10   list how, what you do to avoid the antitrust laws.
 11   That's one of the documents that we got from Chunghwa.
 12               And when you are talking about direct
 13   evidence, I may go back to the -- to the electrical
 14   cases.    There were a lot of indictments in the
 15   electrical cases, about 17 of them.           They were
 16   individual indictments on different products.              They were
 17   of steam turbine generators, hydro generators and
 18   everything else.      And there was one product that there
 19   was a conspiracy on, and the FBI couldn't figure out how
 20   they did it.     They couldn't figure out how they -- they
 21   worked the conspiracy on this product.
 22               So they finally went to the defendants who
 23   pled guilty on that product and said "How did you do it?
 24   How did you fix the price on this product?             We can't
 25   figure out how you did it."


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  1                And the representatives of the company said
  2   "We did it by the phase of the moon."            I'm not
  3   exaggerating.     By the phase of the moon, depending what
  4   phase of the moon was that would tip off what guy that
  5   came in with the highest price.
  6                Well, that's the stuff that we find when we
  7   filed these cases.      And I wanted to bring that court's
  8   attention.
  9                But let's get back to what we have.           As I
 10   said, what we have found in this case, the CRT prices
 11   agreed upon at the meetings apply to internal
 12   transactions, as I just said, internal transactions of
 13   the vertically integrated conspirators; that is, those
 14   that also manufactured TVs and monitors as well as to
 15   third parties.     These internal sales constitute the
 16   majority of defendants' sales of products.
 17                We also found that the status of the finished
 18   product market, that is, prices, sales, projected
 19   demand, and whether the prices of finished products
 20   could be increased in the amount of the agreed upon CRT
 21   price increase were regularly discussed at the
 22   conspiratorial meetings.        And the defendants admit this.
 23   They admit that these things were discussed at the
 24   meeting.
 25                And I am repeating.      The status of the


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  1   finished product market, that is, prices, sales,
  2   projected demand, and whether the prices of finished
  3   products could be increased in the amount of the agreed
  4   upon CRT prices increased -- price increased.              These
  5   were regularly discussed at conspiratorial meetings.
  6               THE COURT:     What are you reading from?          Where
  7   does that quote come from?
  8               MR. SAVERI:     This is -- this is not a quote.
  9               THE COURT:     Okay.
 10               MR. SAVERI:     But this is what we have found in
 11   our investigation.
 12               THE COURT:     All right.
 13               MR. SAVERI:     We also have found the following
 14   in our investigation.       And I'm getting -- I'm citing
 15   this because this is what we found in our investigation
 16   and to support our theory -- not our theory, but to
 17   support the allegations of our complaint that we did
 18   make a reasonable investigation under the circumstances,
 19   and that our complaint is not objectively baseless.
 20               We also found that the prices of CRTs was set
 21   based on the conspirator's view of their effects on the
 22   finished product.
 23               While Chunghwa --
 24               THE COURT:     Would you read me that again,
 25   please?


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  1                MR. SAVERI:    The prices for CRTs were set
  2   based on the conspirator's view of their effects on the
  3   finished products.
  4                In other words, the CRT price was set, what
  5   effect is it going to have on the finished products.
  6   Because if I'm selling the tube, I want to know what --
  7   and fixing the price, I want to know what effect that
  8   has on the finished product.         Because if -- if the price
  9   is low, then the price of the finished product is going
 10   to be less.     So if you fix the price of the tube, we
 11   know that the finished product price is going to be
 12   higher.
 13                And that in and of itself is a unitary
 14   conspiracy.     That's a price fix on -- that's a price fix
 15   on -- on the tube and on the finished product.
 16                You and I get together and say okay, I'm doing
 17   the tubes, but I know it's going to have an effect on
 18   the price.     So I'm going to fix my tube because I know
 19   it's going to have an effect, and the price of the
 20   finished product is also going to be affected, and so
 21   that the price of the finished product passed on is
 22   going to be excessive.
 23                Now, under Socony-Vacuum, under the Catalano
 24   cases and other cases we cite, that in and of itself is
 25   a conspiracy to fix the price of the tube and the


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  1   finished product.      That's what Socony says, that's what
  2   Socony says, and the other cases we cite.             That in and
  3   of itself is a conspiracy to fix the price on the tube
  4   and on the finished product.         That is the law.
  5                Now, what else did we find?         The prices of
  6   CRTs was set based on the conspirators' view of their
  7   effects on the finished product.          While Chunghwa was not
  8   allowed by the DOJ to provide documents, they were not
  9   allowed to give us documents, Chunghwa read, Chunghwa
 10   read the various notes of these meetings to the
 11   plaintiffs' counsel, they read various notes of these
 12   meetings to the plaintiffs' counsel which confirmed
 13   these discussions, including notes that showed the
 14   conspirators deriving the CRT price from a targeted
 15   finished product price.
 16                In other words, they read to us.          They
 17   couldn't give us the documents, but they read to us
 18   these -- they read to us that this is what the documents
 19   you get are going to show.         And on the basis of what we
 20   got, those are one of the reasons why we filed a
 21   complaint.
 22                Now, here are a few examples.         There is an
 23   April 13th, 1999, April 13th, 1999 top management report
 24   gives consideration to colored display tube prices as a
 25   way to punish sellers of monitors.           That's TVs.      That is


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  1   TVs who set their monitor price too low.
  2                In other words, a April 13th, 1999 top
  3   management report gives consideration to increasing
  4   color display tube prices as a way to punish sellers of
  5   monitors.     That is TVs who set their monitor prices too
  6   low.
  7                So in other words, we have got to see what we
  8   are doing.     If our monitor price is too low, that
  9   finished product price is going to be too low.
 10                There is a June 23, 1999 top manager report, a
 11   top manager report, where it was discussed that raising
 12   prices on 15-inch CDTs by $5.00 would allow monitor
 13   makers, that is, TV makers to adjust their prices upward
 14   to make an extra profit.
 15                So what are they talking about finished
 16   products if it has nothing to do with finished products?
 17   Here is a guy talking about tubes and say hey, we better
 18   watch out on 15-inch CDTs because by allowing five bucks
 19   we are going -- that's going to affect the price of the
 20   finished product, so we are going to increase the price
 21   of the tube.     That's what that document says.
 22                Note another one.      Notes from the June 23,
 23   2000 CDT working meeting where it was noted that an
 24   increase in monitor prices directly benefits CDT
 25   increases.     In other words, the increase on the price of


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  1   a monitor price directly affects, when they talk about
  2   monitor prices talking about TVs, affects CDT increase.
  3               There is a September 21, 2001 CDT top
  4   management meeting where the prices charged for monitors
  5   were used as a benchmark to set the prices for CDTs so
  6   that the CRT monitors should be priced at a defined
  7   level below the LCD monitors.         This is what now -- we
  8   even discussed, the LCD discussion; in other words, that
  9   the CRT tube prices should be priced at a defined level
 10   below LCD monitors.
 11               At these meetings they talk about the tubes
 12   and they talk about the prices and they talk about
 13   finished pricing, and the information that we have been
 14   given shows that.
 15               Then there is a February 22, 2002 top
 16   management level meeting where the CPT, where Chunghwa
 17   indicated that the $2.00 price increase this time, I'm
 18   quoting, has to facilitate monitor makers, it has to
 19   facilitate monitor makers, that is, TV makers, the
 20   transfer of the CD increase to customers, and that the
 21   increase in price will increase each size again by $3.00
 22   in April.    It hopes that makers can have a common
 23   understanding and implement accordingly.            I'm quoting
 24   here.    The English isn't correct, but this is how the
 25   foreign people work.


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  1                There is a March 25, 1927 (sic) top manager
  2   level meeting where a CD price hypothetical hike was
  3   discussed, and it was said that, quote "As this wave of
  4   price -- again as this wave --" I'm sorry, that's not
  5   the proper use of it, but this is what he says.              This is
  6   what the memo says.       "As this wave of price hike comes
  7   with short notice, price would go up by only USD 2 to 3
  8   at the post stage.      We should also inform the customers
  9   of a possible second stage price hike so that they can
 10   take time to pass it on to the OEM customers."              Now, the
 11   EOM customers are the guys that are making the finished
 12   products.
 13                Plaintiffs have more evidentiary support for
 14   these allegations that moving defendants failed to
 15   credit.     Defendants cannot dispute that there is
 16   evidence that the conspiratorially set prices for CRT
 17   tubes explicitly apply to internal transfers within
 18   vertically integrated defendants.           This fact alone
 19   supports plaintiffs' allegations of a unitary conspiracy
 20   because such internal prices are meaningful to a
 21   vertically integrated company, or a member of a
 22   vertically integrated corporate family, it's meaningful
 23   only as a basis to determine the pricing of the finished
 24   products, of which the tube was a primary and most
 25   expensive component, over 50 percent, 50 percent.


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  1               From this fact alone a jury could infer a
  2   common scheme that the illegal tube price increases
  3   would be incorporated into the prices of defendants'
  4   finished products.
  5               Moreover, it makes no sense for a manufacturer
  6   of CRTs to fix prices to itself.          It's not going to fix
  7   a price to itself when it sells to a subsidiary.
  8               Again, the vast majority of the vertically
  9   integrated defendants' price fixed CRT sales were to
 10   themselves.     In other words, most of the sales from one
 11   subsidiary to the other were on an integrated,
 12   vertically integrated basis.
 13               Similarly, moving defendants -- I'm going
 14   through some of these things -- what are the reasons I'm
 15   going through this is that the two standards that we
 16   have, you asked what are the standards of the Rule 11.
 17   We have got to show that we made a reasonable
 18   investigation under all the circumstances, and we have
 19   got to show that what we have alleged is not objectively
 20   baseless.     And I'm reading these things to you as to
 21   what we found out in these things that support our
 22   finding that these are not objectively baseless and that
 23   we did make a sufficient investigation under the
 24   circumstances.
 25               And nothing that Mr. Kessler said disputes


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  1   this, and nothing that he has so far has indicated or
  2   proven that we did not objectively, or that we did not
  3   make a reasonable investigation and that our complaint
  4   and our allegations or our claim is objectively
  5   baseless.    There is no grounds, and he hasn't shown
  6   anything.
  7               He comes up with a lot of conclusions, you
  8   have no evidence, you have no evidence, and I have been
  9   reading you a bunch of documents that reflect exactly
 10   that prices were discussed and it affected both the
 11   finished product and the tube.
 12               And under the law as I have discussed, Socony
 13   and all those cases, that in and of itself is a price
 14   fixed on that product.        That is the law.
 15               And again, what we are doing in this case, we
 16   are arguing a summary judgment motion.            That's not the
 17   purpose of a Rule 11.       The question, did we make a
 18   reasonable investigation, and was our claim objectively
 19   baseless.
 20               And it's no question about that they haven't
 21   complied with it, that we have complied with that, and
 22   they haven't proved that we didn't.           And the facts that
 23   I am giving you to indicate that our claim was not
 24   objectively baseless.       And I can go on and give you
 25   more.


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  1                Now, here is an interesting document.           The
  2   moving defendants ignore evidence showing that
  3   defendants -- strike it.
  4                Similarly, moving defendants ignore evidence
  5   showing that defendants deriving the price of the tube
  6   from their judgment of the maximum finished product
  7   prices obtainable.      As plaintiffs explained in their
  8   responses to the LG documents request, a September 21,
  9   2000 top meeting, it's a 2000, 21 2000 top meeting
 10   between Samsung, LG, Orient, Phillips, and Chunghwa, the
 11   conspirators reviewed and compared.           This is what they
 12   reviewed and this is what they compared:            The costs of a
 13   15-inch LCD monitor and a 17-inch CD flat monitor.                 Each
 14   product had its current price and a forecast price and
 15   each is broken down by various component parts.              The
 16   retail price of the CDT monitor was less than $249 to
 17   275.     The wholesale price was listed at 247 to 260, and
 18   the FOB price at 190.       Of this latter price $110 was
 19   attributable to the cost of the CD and $80.00 was
 20   attributable to other costs.
 21                Using this breakdown of monitor costs as a
 22   foundation, Mr. Kim concluded how much the group would
 23   be able to charge for a CD to stay in competition with
 24   LCD panel makers.
 25                I continue -- I can continue to go on and read


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  1   these because they are very, very important.
  2               THE COURT:     What you just read sounds like
  3   it's working the other way.
  4               MR. SAVERI:     What?    No, it isn't.
  5               THE COURT:     The maximum available price or
  6   maximum market price at which the finished product is
  7   being sold is driving how much of an increase of the
  8   component part that the manufacturer --
  9               MR. SAVERI:     No, but what they are doing is
 10   they are discussing both the tube price and the finished
 11   product to see that you can't fool around with the tube
 12   price and keep it too low because it can affect the
 13   finished price.
 14               And so that you have to increase the -- as you
 15   increase the tube price, you are also going to in effect
 16   increase the price of the finished product.             This is
 17   what they talked about.        They were related.       They didn't
 18   keep them separate.
 19               And the notes that we have shown and what we
 20   have discussed in our -- in our brief, there are a lot
 21   of indications that that is what happened.             Now, I can
 22   continue to go on and read it.
 23               Now, so that's when -- the one we filed, when
 24   we filed our complaint, we had direct evidence that
 25   defendants not only knew with great precision what the


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  1   finished product price would be, based on a given tube
  2   price, they set the tube price based on a targeted
  3   finished price, product price.          Again, this alone is
  4   sufficient to support plaintiffs' finished product
  5   allegations.
  6               And to repeat, when plaintiffs filed our
  7   complaint, we had direct evidence that defendants not
  8   only knew with great precision what the finished product
  9   price would be based on a given tube price, they set the
 10   tube price based on a targeted finished product price.
 11   That's a price fix.
 12               Now, the moving defendants ignore plaintiffs'
 13   investigation of the CRT price industry.            We made an
 14   investigation of the CRT price industry.            This analysis
 15   showed the historical pricing of CRTs and the finished
 16   products, and the structure of the industry also support
 17   the existence of a conspiracy encompassing both.               Again,
 18   this analysis by itself constitutes some evidentiary
 19   support, and that is all that Rule 11 requires, our
 20   analysis of the industry.
 21               Now, in this case we talked -- here.            Now, in
 22   this case, as Mr. Kessler concedes, there were a myriad
 23   of governmental investigations, a myriad of governmental
 24   investigations.      The DOJ and many foreign governments
 25   conducted investigations into the price fixing


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  1   activities of the defendants.         These investigations
  2   confirmed that the prices set for the CRTs directly
  3   increased the prices of finished products.             The DOJ
  4   press release, the DOJ press release announcing
  5   indictment of C. Y. Lin of Chunghwa expressly stated,
  6   this is what the press release stated by the DOJ, this
  7   conspiracy harmed countless Americans who purchased
  8   computers and televisions using cathode ray tubes.               So
  9   that fixed prices.
 10               The following defendants or their employees
 11   have been indicted or their foreign -- or their foreign
 12   equivalent for their participation in the conspiracy:
 13   Chunghwa, LGE, LP Displays, which is the joint venture
 14   between defendants LG and Phillips, and MTPD, which is
 15   the joint venture between defendants Panasonic and
 16   Toshiba.    Samsung, SDI recently pleaded guilty to
 17   participation in the conspiracy.
 18               Plaintiffs also conducted extensive research
 19   of the corporate relationships of defendants, both
 20   within and without the various corporate families.
 21   Plaintiffs' research included review of public financial
 22   data, regulatory filings by defendants, newspaper and
 23   magazine articles, and other publicly available data.
 24   This research showed that most of the conspirators also
 25   manufactured finished products or were amendments of


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  1   corporate families that didn't.
  2               It further showed that the corporate families
  3   were operated in an integrated and or coordinated manner
  4   by the parent corporations.         This is what our research
  5   showed, and it's the investigation that we made before
  6   we filed the complaint.
  7               The plaintiffs also conducted extensive
  8   research of the structure and history of the CRT
  9   products, that is, the CRT's products and the finished
 10   product market.      This research, this research included
 11   inter alia a review of historical sales and prices,
 12   market shares, pricing trends, barriers to entry, and
 13   the interrelationship of market participants.
 14               This information showed parallel pricing,
 15   anomalous pricing, a highly concentrated industry,
 16   significant barriers to entry with no competitive
 17   fringe, a standardized product with competition mainly
 18   on price, a history of consolidation and joint ventures
 19   within the industry, the climbing demand, a record of
 20   antitrust inquiry, the fact that the CRT is the major
 21   and most expensive part of a display, vertical
 22   integration of many of the manufacturers, both CRTs and
 23   finished products, and upward movement in or
 24   stabilization of prices for CRTs and the finished
 25   products, despite the climbing demand.


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  1                All of these factors support the existence of
  2   a conspiracy extending to finished products as well.
  3   These are the investigations that we made and on which
  4   we based our complaint.        Only this is some of the stuff
  5   on which we based our complaint.
  6                We also had consultation with an expert
  7   economist.     Plaintiffs' consultant was an expert
  8   economist who also examined the structure and the
  9   history of the CRT products market.           The expert provided
 10   plaintiffs with his opinion that there was evidence to
 11   support a conspiracy encompassing both CRTs and finished
 12   products based on a review of market data and the
 13   government investigations.
 14                Plaintiffs also conducted a review of
 15   defendants' participation in other conspirators
 16   including the related LCD products conspiracy.              We
 17   looked into this.      The LCD conspiracy had been going on,
 18   or the case had been going on for some time.              Mr. Simon
 19   is the lead counsel and knows all about it.
 20                So when we prepared our complaint, we looked
 21   at LCDs and manufacture of the panel, and is also the
 22   manufacture of the finished product.           We have CRTs, it's
 23   a manufacture of the tube, and also the manufacturer of
 24   the finished product.
 25                And it's rather interesting when you look at


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  1   the CRT case and you look at the LCD case.             The CRT
  2   case, this conspiracy preceded the conspiracy in LCD.                 I
  3   don't know how the government didn't find out about the
  4   CRT case before it found out the LCD case, that's rather
  5   interesting, and how we were supposed to find out, and
  6   it's sort of analogous to the cases that we had in the
  7   citric acid cases where there was a -- where the
  8   conspiracy among the defendants started in lysine, they
  9   set up a program on how to fix the price of lysine.
 10   Incidentally, the defendants in the lysine case all pled
 11   guilty, some went to jail, and they settled for a
 12   substantial amount of money.
 13               So they set up such a great deal on LC -- on
 14   lysine and how to fix prices and everything else.                So
 15   the same people also sold citric acid.            They said since
 16   we are so successful in lysine, why don't we do the same
 17   thing in LCD, which they did, and they went -- and they
 18   all were indicted.      In fact, there was a trial back in
 19   Chicago and I think the vice-president of AMD went to
 20   jail.
 21               So we looked at the LCD case to see what --
 22   what similarity does that have with us in CRT.              What can
 23   we do.   Does that give us some information, indication
 24   of what's going on in CRT.
 25               Now, in LCD, virtually all of the defendants


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  1   in this action are known to have participated in other
  2   price fixing conspiracies.         Panasonic, formerly
  3   Matsushita, Toshiba, Hitachi, fixed television prices in
  4   Japan in the early 1990s and before.           Defendant SEC,
  5   defendant Samsung Electronics of America, Inc., and
  6   other Samsung entities, defendant Hitachi Ltd.,
  7   defendant Hitachi Device, Ltd; defendant Hitachi
  8   Electronics Devices USA, various LG subsidiaries,
  9   defendant Toshiba Corporation, defendant Toshiba
 10   American Electronics Corporation, defendant Toshiba
 11   American Information Systems, defendant Chunghwa, and
 12   defendant Tatung Company of America, Inc. named in the
 13   related LCD price fixing class actions.            Same people we
 14   have here in LCD.
 15               As here, the LCD complaint was informed by
 16   inside information from Chunghwa.           That's how they
 17   started.    Chunghwa gave, made a profit in the LCD case,
 18   and just as in the CRT, Chunghwa and LCD doesn't make
 19   the finished product.       It makes the panel.        And it pled
 20   guilty, and also settled the case.           And Chunghwa settled
 21   the case with us in this case.
 22               Also, as here, the conspiracy alleged in the
 23   LCD action includes finished products.            Those
 24   allegations survived motions to dismiss prior to filing
 25   the CAC complaint.


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  1                Judge Illston has since certified a direct
  2   purchase of finished product claims.           Moreover,
  3   defendant SEC is the amnesty applicant in the LCD case.
  4   These are the same people we have here.
  5                SEC also admitted prior fixing with regard to
  6   DRAM.    SEC was in the DRAM case in which I was lead
  7   counsel and they admitted to fixing prices and have a
  8   guilty plea by SEC and its subsidiary.
  9                And in the DRAM case, SEC was the amnesty
 10   applicant.    Also SEC -- when I say SEC, I'm talking
 11   about Samsung, Samsung was the amnesty applicant in the
 12   SRAM case.
 13                And in addition, these same people were also
 14   involved in the flash case.         In other words, you are
 15   getting these companies that have been involved in
 16   flash, LCD, DRAM, and SRAM, all the same people
 17   involving conspiracies.        We looked at these things
 18   and -- and there is -- there are rulings by Judge
 19   Wilkins and also a ruling by Judge Armstrong and flash
 20   and Wilkin in SRAM that if people are fixing prices in
 21   one industry, the same type of people, same guys, there
 22   is an inference that they are doing it in the other --
 23   in the other -- in another industry where the same
 24   people are involved.
 25                These are the things that we considered and


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  1   took into consideration when we prepared our complaint.
  2                The plaintiffs here have alleged just as in
  3   LCD that those defendant entities who participated in
  4   the glass meetings did so on behalf of their respective
  5   families of companies.
  6                In other words, where they attended these
  7   meetings, they attended on behalf of their all
  8   companies.     They didn't say "I represent this person, I
  9   represent --" when they went to these meetings if
 10   anybody appeared for Samsung it was understood that he
 11   spoke on behalf of all the related companies.
 12                Now, as indicated, the plaintiffs here have
 13   alleged just as in LCDs that those defendant entities
 14   who participated in the glass meetings did so on behalf
 15   of their respective meetings of companies, allegations
 16   that Judge Illston deemed sufficient to tie in related
 17   entities who manufactured finished products.
 18                As in LCDs, we, the plaintiffs in this case,
 19   were lead to believe from the Chunghwa proffer that
 20   individual participants in the conspiratorial meetings
 21   did not necessarily know the corporate affiliation of
 22   their counterparts and didn't distinguish between the
 23   entities and a corporate family.          Indeed, even third
 24   party makers of finished products attended some of the
 25   conspiratorial meetings.


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  1               As in LCD, plaintiffs could reasonably believe
  2   that subsidiaries who manufactured downstream products
  3   could be held liable along with their parent entities
  4   for acts of -- of the alleged overarching conspiracies.
  5               The plaintiffs in this case also knew, also
  6   knew for vertically integrated defendants' public
  7   filings that the various related companies in the
  8   Samsung, Hitachi, Toshiba, Panasonic, Philips, LG, and
  9   Tatung corporate families were closely intertwined,
 10   intertwined, and managed on a central top-down basis,
 11   they were intertwined and managed on a central top-down
 12   basis.
 13               Thus a conspiracy involving the manufacturing
 14   entities of the CRTs within those families could be
 15   reasonably viewed to also encompass the manufacturing
 16   entities that made the finished CRT products within
 17   those families, especially given intra-family corporate
 18   sales that occurred.
 19               The plaintiffs in this case also knew that the
 20   DOJs in February of 2009 indicted C. Y. Lin of Chunghwa.
 21   And it was accompanied by a press release that stated,
 22   the indictment was accompanied by a press release that
 23   stated this conspiracy harmed countless Americans who
 24   purchased computers and televisions using cathode ray
 25   tubes sold at fixed prices.         This could be reasonably


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  1   interpreted that the conspiratorial impact extended to
  2   finished CRT products.
  3               Indeed, Judge Conti, Judge Conti in upholding
  4   the special master's ruling denied motions to dismiss
  5   said that, quote "When announcing the indictment, the
  6   acting assistant attorney general in charge of the
  7   antitrust division suggested the conspiracy extended
  8   beyond CRT themselves."        That same inference is present
  9   here, exactly what Judge Conti said.           From reading these
 10   releases he made that, drew that inference, that same
 11   inference could be drawn here.
 12               Now, since the filing, since the filing, since
 13   the filing of our complaint, the DOJ has indicted in
 14   August of 2009 and November of 2010 five more executives
 15   of the defendants here:        Simon Lee, Albert Yang, Alex
 16   Yen, Tony Chung, and Jason Kim.          The DOJ has indicted
 17   Samsung SDI through its participation in the CRT
 18   conspiracy and Samsung, SDI pled guilty earlier this
 19   month.
 20               The publicly available guilty pleas refer to,
 21   quote, "Antitrust conspiracy involving the manufacture
 22   or sale of cathode ray tube products, including CDTs and
 23   CPTs in the United States and elsewhere."             In other
 24   words, it says includes the manufacture and sale of
 25   cathode ray products including CDTs --


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  1                THE COURT:     Well, does that mean finished
  2   products --
  3                MR. SAVERI:     Yes, it does.
  4                THE COURT:     -- or does it mean the product of
  5   the cathode ray tube or the --
  6                MR. SAVERI:     When they start talking about --
  7                THE COURT:     -- companies --
  8                MR. SAVERI:     When they start talking about the
  9   victims of people who bought TV, the victims -- the
 10   victims were the people who bought the TVs.             That's what
 11   they said.     These are the releases that the government
 12   said when they came out with the announcements.
 13                I can go on on this, your Honor.          I'm getting
 14   down to the bottom here.        I'm going to cut down -- I --
 15   most of this or a lot of it is included in our brief.
 16                THE COURT:     Yeah, I know.
 17                MR. SAVERI:     And I'm going through these
 18   things.
 19                THE COURT:     I hear you.
 20                MR. KESSLER:     I'm making a little more detail
 21   than I probably should.
 22                But I want to show you what we -- the
 23   investigation that we mapped and what we saw and what
 24   was the basis of our complaint.           And from looking at all
 25   this stuff, no one can conclude that our complaint was


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  1   objectively baseless.
  2                I would like to finish with the -- what I said
  3   before.   A conspiracy to fix the prices of a component
  4   of a finished product operates as a conspiracy to fix
  5   prices of that finished product to the extent company
  6   conspirators sold both products.          And I cite the
  7   Catalano case, Supreme Court case, U.S. versus Socony
  8   and the Northwest case also, and they are all cited in
  9   our brief.
 10                I want to conclude this way.         The present
 11   motion is a --
 12                THE COURT:    Wait a minute.      Wait a minute.
 13   Are you arguing that because a component price was fixed
 14   by conspirators and the component price is a factor in
 15   determining the price of the finished product, that
 16   automatically there is a conspiracy to fix the price of
 17   the finished product?
 18                MR. SAVERI:    That's correct.
 19                MR. SIMON:    If I could elucidate on that, what
 20   we are saying is the fact that the finished products and
 21   the components were both discussed, the prices amongst
 22   competitors, and that those competitors are vertically
 23   integrated companies that make both, and that we have
 24   sufficient facts to show that there is impact on both,
 25   is a unified conspiracy, as Mr. Savari is describing it.


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  1               And this is not new, your Honor.           This is what
  2   we argued twice before you in the motion to dismiss
  3   hearing on October 5th, 2009, and at the discovery
  4   hearing on November 12th, 2010.          It is the same theory.
  5               And the fact of the matter is is that
  6   Mr. Kessler in his argument, if you go back and read it,
  7   I know it seems like it's some time ago, but if you go
  8   back and read it, he has said it both ways himself,
  9   because the fact of the matter is the economic reality
 10   of these vertically integrated companies -- and seven of
 11   them are defendants in this case, and they control most
 12   of the market -- is they cannot get the price fix under
 13   tubes, the benefits of that when they sell it to their
 14   affiliated companies unless the price of the finished
 15   product picks up the price fix.
 16               And that's why they were talking about it.
 17               THE COURT:     What if they are caught in a
 18   competitive market at the finished product level with
 19   prices diminishing for the general, because of general
 20   demand, and price competition among manufacturers where
 21   that ceiling is bringing it down?           Doesn't that indicate
 22   that those things flow differently?
 23               MR. SIMON:     No.   No.    Hold on a second.
 24               Whether the prices are going down in the
 25   finished product market or the food market, so long as


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  1   the prices are stabilized, it doesn't matter if prices
  2   are going down.
  3               If they are pegging their prices on the tubes
  4   in their discussions based on what the prices of the
  5   finished products are doing and they are taking that
  6   into consideration and discussing it amongst themselves,
  7   they can keep the price from going down further.               They
  8   are pegging the prices against each other.             And when
  9   they do that, that's a conspiracy.
 10               THE COURT:     How can they -- how can they agree
 11   at the manufacturing of the tube level to agree on
 12   prices at which the finished products are going to be
 13   sold?
 14               MR. SIMON:     Because they are making --
 15               THE COURT:     Or a price increase for each of
 16   these products when at the finished product level they
 17   are competing with a universe of other people who are
 18   helping to set by natural competition, set a price?
 19               MR. SIMON:     Because they have enough of the
 20   market that they can control their own prices, and no
 21   matter how much they go up and down, it's always going
 22   to be related to the price they fix in the conspiracy.
 23   That's the whole point.
 24               They can't control Sony and the other people
 25   in that market, but that's irrelevant.            They are --


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  1               THE COURT:     Why?    Because Sony and the other
  2   people in the market are the ones who help determine the
  3   price for the finished product, not by conspiracy, but
  4   by ordinary competition.
  5               MR. SIMON:     You know, the manufacturers, all
  6   these seven vertically integrated companies not only
  7   sell to themselves, they sell to each other, they sell
  8   to Sony, they had an agreement as we allege in the
  9   complaint at paragraph 144 and 146, and multiple other
 10   paragraphs after that that we cite in the brief,
 11   starting at 161, et seq, that they had an agreement that
 12   their pricing to the people that they sell to is going
 13   to be consistent with the conspiratorial price.              That
 14   makes all boats float to the same level.            And it affects
 15   the competition not only in the tube market, but in the
 16   finished product market.
 17               If the effect in the finished product market
 18   is less, it doesn't mean there isn't an effect.
 19               And by the way, on a Rule 11 motion, you can't
 20   decide any of this.       This is -- this is every -- this is
 21   what we were arguing in summary judgment.
 22               THE COURT:     I'm following your argument, I'm
 23   trying to understand your argument, because I think it
 24   runs up against some fundamental economics of how prices
 25   are fixed at the finished product level.


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  1               MR. SIMON:     It does not.
  2               THE COURT:     Not fixed in a conspiratorial
  3   sense.    That's what's bothering me.
  4               MR. SIMON:     No.   I'll try and explain again.
  5               If you have vertically integrated companies,
  6   some of the biggest in the world like Samsung and
  7   others, and they are making a fixed on the component,
  8   okay, and that the finished product is also affected by
  9   that, by intent, and discussion of the component, and
 10   they are selling not only to themselves on an agreement
 11   that it's going to be the conspiratorial price because
 12   they want that full price captured in the finished
 13   product and they are selling to others at that same
 14   price, it has an impact on competition in both markets.
 15               And that is a unified conspiracy.           And that's
 16   what economists would say the economics --
 17               THE COURT:     What if a manufacturer buys a
 18   higher priced tube but decides to absorb the increased
 19   cost itself without increasing its product?
 20               MR. SIMON:     Then we'll find out how much of
 21   that is in discovery and we'll see what impact that is.
 22   But we don't know that now.
 23               THE COURT:     That's impact, isn't it?
 24               MR. SIMON:     It is, but it's not all the
 25   impact.    It may be one percent of the impact or it may


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  1   be ten percent of the impact or it maybe 50 percent of
  2   the impact.
  3               THE COURT:     Impact makes conspiracy?
  4               MR. SIMON:     No.   The discussion of the two
  5   products in the same setting in the same meetings with
  6   people who do both products makes the conspiracy, with
  7   the stated intent that they are going to be affecting
  8   both products.
  9               THE COURT:     So this applies only to the
 10   integrated companies?
 11               MR. SIMON:     No, because the non-integrated
 12   companies are there as well.         I mean, they're part of
 13   the fix.    Whether -- if they don't make finished
 14   products, they are still agreeing that their tube prices
 15   are going to be consistent with those people who make
 16   the finished products.
 17               So they are selling to outsiders in the
 18   conspiratorial price too which drives the finished
 19   product in a certain direction.          And economists are
 20   going to tell us ultimately at the end of the day what
 21   that impact is.
 22               But I will tell you, just having gone through
 23   it in LCD and just having filed our expert reports last
 24   night, not only the defense experts, but the plaintiffs'
 25   experts all say the same thing, it is economically


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  1   implausible that the final price of the finished product
  2   will not capture 100 percent of the component costs,
  3   fixed or not.
  4                And if they are going to bring the price
  5   down --
  6                THE COURT:    Regardless of the competitive
  7   conditions in the finished product markets?
  8                MR. SIMON:    They can bring their price down
  9   based on other things that they put in there.              They
 10   write off the cost of the tuner or they write off with
 11   something else.
 12                But if the primary component of the finished
 13   product --
 14                THE COURT:    Which means the prices didn't go
 15   up?
 16                MR. SIMON:    It doesn't matter if they go up or
 17   down, your Honor.      That's what I'm trying to say.
 18                THE COURT:    But there is where your impact is
 19   on the buyers.
 20                MR. SIMON:    The impact can be described either
 21   by prices going up, which they did in CRT, both on
 22   finished products and tubes in certain periods, prices
 23   stabilizing, in other words, we just won't raise the
 24   price now and let market demand on the finished products
 25   settle down, and stabilizing the price, or prices going


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  1   down, in which case they would have gone down further
  2   had they not been involved in the price fix.
  3               Those are three economic theories, all of
  4   which exist in reality, all of which happened in LCD,
  5   and all of which are proved to happen in this case which
  6   we already have evidence of.
  7               And the fact of the matter is when the experts
  8   get together at the appropriate time in this case,
  9   they'll argue with what the impact is, but that doesn't
 10   mean we didn't allege a complaint where there is such
 11   impact and stated and known impact with intent to --
 12               THE COURT:     You allege impact and they are not
 13   disputing impact.      They are going to let you have
 14   whatever discovery you want on impact.
 15               What they are disputing is does impact prove
 16   conspiracy so that your discovery and your proof at
 17   trial can include price fixing on television sets and TV
 18   monitor -- or the computer monitors --
 19               MR. SIMON:     But your Honor, let me go back to
 20   the Sugar case, we have already discussed.
 21               THE COURT:     Yeah.
 22               MR. SIMON:     The Sugar case, the only quote I
 23   want to remind you about in there is that the court
 24   considered whether or not it should allow the plaintiffs
 25   to proceed on the finished product because the finished


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  1   product contained the Sugar.         And the court concluded if
  2   it did not allow that in that case, and Linerboard is
  3   consistent with that, and Kenevilbord in the Ninth
  4   Circuit, it would leave a gaping hole in the antitrust
  5   laws.
  6               And by the way, Judge Elston in LCD when she
  7   certified a product class, a component class and a
  8   finished product class, that he said in her class
  9   certificate order at 267 FRD at 306 if there is no
 10   finished product class, then it gives the defendants
 11   basically -- these are not her words, this is my
 12   paraphrasing -- a free pass to fix the components that
 13   go into the finished product.
 14               If you don't hold them responsible for the
 15   finished products Judge Elston said in LCD then they are
 16   going to get away with fixing the price of the tubes and
 17   they should be responsible for the finished products as
 18   well.
 19               And that's exactly what they are trying to
 20   argue here.     That's exactly what Sugar says.
 21               THE COURT:     Why would they get away with that?
 22   I don't understand that.
 23               MR. SIMON:     Because they are controlling
 24   the -- their own finished products.           If you let them
 25   fix -- take for example in Samsung's case, we just


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  1   recently got their data, and we haven't examined all of
  2   it, if they sell let's say 90 percent, Samsung SDI sells
  3   90 percent to SEC, a defendant who settled in LCD, by
  4   the way, recently, if they do that, if they do that,
  5   then the only way they are going to capture that price
  6   fix back is by the sale of those finished products.
  7   That's -- this is transfer pricing between two
  8   companies.     That's how it works.
  9                The full cost, the full burden of that price
 10   fix is going to show up in the finished products.               It
 11   has to.
 12                And if they discuss that and they recognize
 13   that --
 14                THE COURT:    Wait a minute.      Wait a minute.
 15                MR. SIMON:    It's a conspiracy.
 16                THE COURT:    Why does it happen?        Can't -- at
 17   the manufacturing and retail product, can't they decide
 18   to absorb that cost in order to stay competitive with
 19   their other competitors in the marketplace for
 20   television sets and --
 21                MR. SIMON:    They could if there wasn't an
 22   agreement amongst the better people who are in the
 23   vertically integrated companies.          They are going to pay
 24   that price against --
 25                THE COURT:    You are back to vertical


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  1   integration again.       All right.
  2               MR. SIMON:     The --
  3               THE COURT:     Bear in mind, look.        I'm not
  4   disagreeing with you.
  5               MR. SIMON:     No.   I understand.
  6               THE COURT:     I'm not necessarily agreeing with
  7   them.
  8               MR. SIMON:     Right.     You are trying to
  9   understand.
 10               THE COURT:     I'm simply saying I'm puzzled, I'm
 11   troubled by these so-called economic relationships that
 12   have to be automatic.       And that's what I'm questioning.
 13               MR. SIMON:     I'm not saying they are automatic,
 14   your Honor.
 15               But I'm saying this.        You are asking questions
 16   that cannot be challenged on a Rule 11 motion.
 17   Mr. Kessler, Mr. Simmons and the three movants are
 18   saying to you at this point you answer those questions.
 19   They can't be answered at this point.            Not certainly by
 20   Rule 11 and saying that it's baseless.            That's the point
 21   we have here.
 22               They are trying to put a square peg in a round
 23   hole, and they are doing it because they want to hit us
 24   over the head with it, because they want to intimidate
 25   us into doing something in this case and they want you


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  1   to cut down the case and this is their way of educating
  2   you about how to cut down the case.
  3                Whatever you do with the case you could do in
  4   other means, but Rule 11 is not the proper basis to do
  5   it upon, for all the reasons that Mr. Saveri and
  6   Mr. Lehmann told you.
  7                You know, one thing I would want to say is --
  8   and I'm not going to take up a whole bunch of time, but
  9   I want to make two quick points -- is that Mr. Kessler
 10   said, I wrote it down, when you asked him do they admit
 11   anything, he said they don't admit there was any
 12   conspiracy.     Well, Samsung, SDI just pled guilty and
 13   they admit there is a conspiracy.
 14                He says "We don't admit anything."           We have
 15   companies, one of whom has now pled guilty, we have 500
 16   meetings, thousands of pages of documents, and they're
 17   coming in to you, the people who want Rule 11 sanctions
 18   against us, and they say they don't admit anything.
 19                And on the flip side of that what do they want
 20   you to do?     They want you to take the admission of
 21   Chunghwa, a continued participant in this case, who --
 22   and say but because they answered that request for
 23   admission, that that should be held against us.
 24                And I want to talk about that, because that's
 25   one of the things that was assigned to me.


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  1                The request for admissions have little or no
  2   weight.   And I would suggest, your Honor, you should
  3   give them no weight.
  4                And here is the reason they have little or no
  5   weight.   Under the Federal Rules of Evidence, you don't
  6   have to look at any cases, Rule 801, there is no reason
  7   to give those requests for admissions any weight at all
  8   because they are hearsay.
  9                Chunghwa's request for admissions are a
 10   statement not made by the movants, not made by the
 11   plaintiffs which is offered for the truth of the matter
 12   stated under Rule 801(c), the movants who were not the
 13   declarant under that rule want to use it against the
 14   plaintiffs who are not -- both of whom are not -- we are
 15   not a declarant either.
 16                So it's actually the type of hearsay rule you
 17   would see.    And they are trying to use it offensively.
 18   There has to be an exception.         There is no exception.
 19                The reason there is no exception is because I
 20   doubt Mr. Kessler and Mr. Simmons and counsel are going
 21   to say oh, it should come in under the coconspirator
 22   exception because the request for admissions says there
 23   was no conspiracies according to them, so they got no
 24   exception.
 25                By the way, in every case that we have with


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  1   them, every other case that Mr. Saveri mentioned, when
  2   we get to the point of trying to put in guilty pleas or
  3   admissions by defendants against other defendants, what
  4   do they stand up and say?        Under Rule 801 they say "You
  5   can't use those against us."
  6               Well, the same thing is true here.            The fact
  7   of the matter is those requests for admissions should be
  8   excluded by you, they bear no weight, they are hearsay,
  9   and they have not shown that they should be admitted.
 10               The person signing the verification on those
 11   requests for admissions signed them on information and
 12   belief.    I don't believe he even gave us his title.
 13   That's another reason why you should give them no
 14   weight.
 15               The request for admissions, they presume the
 16   assertion of these separate conspiracies that I guess
 17   the idea is if you keep saying it enough it somehow gets
 18   some truth to it, it assumes that presumption, but it
 19   asks the wrong question.        It doesn't ask the question
 20   about the conspiracy we allege or the one we say that
 21   existed.
 22               So the answer of Chunghwa with respect to
 23   those requests for admissions are not the answer to the
 24   right question.
 25               THE COURT:     All right.     Why not?


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  1               MR. SIMON:     Because they are asking about a
  2   conspiracy that's characterized in the manner they want
  3   to characterize it.
  4               THE COURT:     Well, wait a minute.
  5               MR. SIMON:     They didn't ask the right
  6   question.
  7               THE COURT:     Well, again, my question to you is
  8   why not.
  9               MR. SIMON:     Here, let's take --
 10               THE COURT:     They admit that Chunghwa is not
 11   aware of any agreement among manufacturers or sellers of
 12   CRT finished products to allocate customers' territories
 13   or markets.
 14               What's --
 15               MR. SIMON:     Take request for admission No. 2,
 16   for example.
 17               THE COURT:     No. 2?
 18               MR. SIMON:     Yes.     It says --
 19               THE COURT:     Wait a minute.        Wait a minute.
 20   Wait a minute.
 21               MR. SIMON:     Okay.
 22               THE COURT:     Okay.
 23               MR. SIMON:     Okay.     It says "admit that
 24   Chunghwa is not aware of any conspiracy amongst
 25   manufacturers or sellers of CRT finished products," of


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  1   which they are not one, that's admitted by Mr. Kessler,
  2   "including any dependents or managers or sellers of CRT
  3   finished products to fix, set the price at which any
  4   such manufacturer or sellers sell those finished
  5   products."
  6                That is a statement in our view which is a
  7   statement of their idea that there has to be separate
  8   conduct related to a finished product conspiracy.
  9   That's the question that they are asking and that's
 10   susceptible to that reasonable interpretation.
 11                They didn't ask the question as you said at
 12   page 12 of our brief is it a conspiracy like we said at
 13   page 12 of our brief.       We don't know what the answer to
 14   that question is.
 15                They asked the question exactly how they
 16   wanted to frame the issue before your Honor.              And that
 17   is the point I'm making.
 18                THE COURT:    Well, except that it's up to
 19   Chunghwa to admit or not admit it.
 20                MR. SIMON:    It's up to Chunghwa.        And by what
 21   I just argued to you, their admission should have no
 22   effect on how you perceive the case or how the case
 23   should be perceived against us for the evidentiary
 24   reasons and for the additional reasons that they --
 25   there is simply not credibility to what they are saying.


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  1   They are going to be in this case.           They have a reason
  2   to say with their co-conspirators what they want to say.
  3                I'll also point out at page 2 the objections
  4   under the request for admissions "To the extent Chunghwa
  5   admits any request, the response should be not
  6   interpreted as admitting anything other than the matters
  7   specifically stated in that request."
  8                That means that if they are answering their
  9   specific question which they framed on a separateness of
 10   a finished product conspiracy, they are not admitting
 11   that there isn't something else there.
 12                THE COURT:    Let me ask you a question then.
 13                MR. SIMON:    Sure.
 14                THE COURT:    You may not be able to answer it
 15   and they may not be able to.
 16                With all of the meetings identified by
 17   Chunghwa, whether they were conspiratorial or not,
 18   meetings.
 19                MR. SIMON:    Yes.
 20                THE COURT:    Do you think that this room
 21   collectively has its arms around the overwhelming
 22   majority of the meetings that occurred?
 23                MR. SIMON:    Do we think we have our arms
 24   around it?
 25                THE COURT:    Yeah.    Yeah.


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  1               MR. SIMON:     I think we have our arms around
  2   the core meetings.
  3               THE COURT:     Yeah.
  4               MR. SIMON:     But I will tell you from my
  5   experience in another case, LCD, that there are
  6   undocumented meetings.
  7               THE COURT:     Yeah.
  8               MR. SIMON:     That there are meetings that came
  9   up in depositions that weren't in the notes.
 10               THE COURT:     Okay.
 11               MR. SIMON:     So I think the answer to that
 12   question is we probably --
 13               THE COURT:     Or they picked up the phone and
 14   said something to be that that didn't get in there.
 15               MR. SIMON:     Exactly.     So there were
 16   discussions amongst people in the United States, their
 17   representatives, there were bilateral meetings.
 18               THE COURT:     Okay.
 19               MR. SIMON:     There were trips.        There were all
 20   sorts of things that weren't in the actual notes.
 21               THE COURT:     But the effective meetings, I
 22   guess if the meeting was really effective to fix prices
 23   of tubes, probably it was in the meetings of Chunghwa's
 24   disclosing?
 25               MR. SIMON:     Yes and no.


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  1                THE COURT:    Yes and no?      Okay.
  2                MR. SIMON:    Because you know, part of a
  3   conspiracy, your Honor, as you know, is monitoring how
  4   effective the conspiracy is --
  5                THE COURT:    Okay.    All right.      Okay.
  6                MR. SIMON:    -- in policing it.        So that was
  7   done in meetings outside the Crystal meetings in -- in
  8   the case of --
  9                THE COURT:    Yeah, I understand.
 10                MR. SIMON:    Okay.
 11                THE COURT:    Of course.
 12                MR. SIMON:    Can I make one last point, your
 13   Honor?
 14                THE COURT:    Yeah.    Sure.
 15                MR. SIMON:    And I want to give you something,
 16   because I really -- it kind of is the character of what
 17   is going on here.       I made just a little chart, it's
 18   nothing fancy.
 19                But in the reply brief, Mr. Kessler and his
 20   colleagues --
 21                THE COURT:    Well, did you give that to him?
 22                MR. SIMON:    Yeah, I'll hand it around.
 23                They make a lot of statements, and I have
 24   outlined them here, about that the indirects have seen
 25   the light.


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  1               THE COURT:     I'm not attributing --
  2               MR. SIMON:     Okay.
  3               THE COURT:     -- much to the fact that one group
  4   of defendant -- plaintiffs is not alleging.              They can
  5   have their own reasons.        It can be practical reasons,
  6   they can be tactical reasons.          They can say that in
  7   their case with their people they are representing being
  8   indirects, the dollars don't make any difference to them
  9   or that people's position doesn't make any difference to
 10   them.
 11               And I don't think by settling their -- their
 12   taking any position on the merits of the -- of the
 13   allegations.
 14               MR. SIMON:     But my point is more this.
 15               THE COURT:     Okay.
 16               MR. SIMON:     We have a group of attorneys who
 17   are accusing us of very bad things and saying Rule 11
 18   should be issued against us.          In their reply brief they
 19   make the four statements on the left-hand side here
 20   about what the indirects supposedly acknowledge, whether
 21   you buy it or not.
 22               THE COURT:     No, that's what I'm saying.
 23               MR. SIMON:     But then in the stipulation itself
 24   it's mischaracterizing exactly what the indirects said
 25   in the stipulation.


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  1               THE COURT:     Okay.     But you see --
  2               MR. SIMON:     That's the type of evidence that's
  3   being presented here.
  4               THE COURT:     I'm not putting any weight on the
  5   fact that the indirects dropped out of it.
  6               MR. SIMON:     Okay.
  7               THE COURT:     They can have their own reasons,
  8   purely economic practical ones, for dropping out.                Okay.
  9               MR. SIMON:     Well --
 10               THE COURT:     Maybe they don't need the same
 11   type of discovery, for example, that you need.
 12               You know, this -- so I'm just, I'm not
 13   attributing anything to it.
 14               MR. SIMON:     I understand.
 15               The only -- last thing I would say because
 16   it's late and I'm sure there are some responses.
 17               THE COURT:     Yeah.     And we haven't even gotten
 18   to the second motion.
 19               MR. SIMON:     I want to -- I want to say
 20   something about what Mr. Simmons said.            He made this
 21   comment that he spoke to Joel Sanders and Joel Sanders
 22   said something to him, counsel for Chunghwa.              It's
 23   totally outside the record.
 24               THE COURT:     Yeah.
 25               MR. SIMON:     It's beyond the papers.


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  1               And actually, a number of things Mr. Kessler
  2   and Mr. Simmons said are not within the safe harbor
  3   provision of the Rule 11 motion because they are outside
  4   of what they presented in that motion to us, and I
  5   suggest to you you should completely disregard it.                But
  6   if you consider it, he has probably blown the safe
  7   harbor provision.
  8               And lastly, what this is all about is an
  9   argument about burden, an argument that should be
 10   handled in the context of creating discovery procedures
 11   that will allow us to prove our case based on a good
 12   complaint and a massive amount of evidence.              And that's
 13   how it should be handled.         And that's where you have the
 14   greatest discretion.
 15               And that's where we are already working, as
 16   Mr. Saveri will tell you, to get custodians and
 17   everything else put into place so that the burden isn't
 18   this monumental calamity.
 19               I almost feel like Mr. Kessler and Mr. Simmons
 20   are talking about judgment day coming, and they are
 21   about as right as judgment day coming as the other guy
 22   was the last two times, now he says he is going to come
 23   again in October.
 24               There is no calamity here.          It's been managed
 25   in LCD, it can be managed here, and there is no threat


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  1   of a calamity as they say it.          That shouldn't even be
  2   part of the consideration.
  3               MR. LEHMANN:      Your Honor, one concluding legal
  4   observation.
  5               THE COURT:     Yes.
  6               MR. LEHMANN:      And I'll keep it short.
  7               We talked about the expert analysis that would
  8   be applied to the evidence here of pass-on, whether
  9   they -- some of the costs are absorbed, some are not.
 10   That's going to be the subject of economic evidence in
 11   this case and would normally be tested on opposing
 12   expert reports in connection with summary judgment.
 13               As Mr. Saveri pointed out, and it is important
 14   for this context under Rule 11 we did consult with an
 15   expert before we filed the consolidated amended
 16   complaint, and that consultation along with all the
 17   other things he identified informed a decision on how to
 18   plead.
 19               Page 15 of our opposition brief, there are
 20   cases that say that where you go and consult with an
 21   expert prefiling, that is a factor that will typically
 22   satisfy your due diligence responsibility, so in the due
 23   diligence inquiry requirement under Townsend, and under
 24   Townsend and under Keegan, I go back to where I started
 25   off at the beginning.        If we satisfy either one of those


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  1   problems, defendants have not met their burden.
  2               THE COURT:     Okay.
  3               MR. CORBITT:      Your Honor, could I say one
  4   thing?
  5               MR. SAVERI:      Let me just make one statement
  6   before we finish.       I should --
  7               THE COURT:     Oh, you aren't finished?
  8               MR. SAVERI:      As your Honor is aware, a
  9   separate complaint has been filed by the Voice Schiller
 10   office in New York.
 11               THE COURT:     Yes.    The stipulation wraps that
 12   case.
 13               MR. SAVERI:      You are going to end up with it.
 14               THE COURT:     Okay.
 15               MR. SAVERI:      And the allegations in their
 16   complaint are practically identical to ours.              They
 17   allege a complaint of price fix both on CRT --
 18               THE COURT:     So their due diligence was talking
 19   with you?
 20               MR. SAVERI:      Excuse me, your Honor?
 21               THE COURT:     So their due diligence was talking
 22   with you?
 23               MR. SAVERI:      I don't know what their due
 24   diligence was.      It could have been other -- other
 25   material.


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  1               But the last thing I want to say, your Honor,
  2   and I know it's getting on long, but very respectfully,
  3   the discussions that we have had today about impact and
  4   Catalano and Socony and what effect one price has on the
  5   other, those -- those are motions for summary judgment
  6   motions, a Rule 11, a Rule 11 motion just addresses the
  7   two standards that it requires, whether we made a
  8   sufficient investigation under the circumstances and
  9   whether our complaint is subjectively baseless.
 10               And on the basis of that --
 11               THE COURT:     Well, see --
 12               MR. SAVERI:      It's not -- what they are doing
 13   is exactly what Rule 11, the notes say you are not
 14   supposed to do.      It's not a motion for summary judgment,
 15   it's not a question of whether we should prove our
 16   allegations or not, your Honor.
 17               THE COURT:     No, I understand that.         The only
 18   reason I'm talking about that, the only reason it
 19   tweaked me was that you appear to be making a per se
 20   argument, that if the unit price -- I'm sorry, the price
 21   of the component unit is agreed upon among
 22   manufacturers, is it per se an increase in the price of
 23   a finished product and hence impacts the public.
 24               You see, that's all I'm questioning.
 25               MR. SAVERI:      But that eventually --


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  1               THE COURT:     You can tell me in response that
  2   at this stage is none of my business.
  3               MR. SAVERI:      Okay, but eventually, your Honor,
  4   that's going to be a motion either at summary judgment
  5   or it's going to be a legal motion that we'll have to
  6   argue.    But that's not a proper motion for a Rule 11.
  7   The Rule 11 are the two standards that we indicated.
  8               MR. SIMON:     And just so the answer is clear,
  9   your Honor, it's not as black and white as that.               But
 10   that's the whole point.
 11               THE COURT:     Well, that's what sounded to me
 12   like what you are arguing.
 13               Okay.    I agree --
 14               MR. SIMON:     Well, that's our experience.
 15               THE COURT:     What?
 16               MR. SIMON:     That's our experience in other
 17   cases.
 18               THE COURT:     Okay.
 19               MR. SIMON:     It's not as black as white, I
 20   would concede.      But that's a factual issue.
 21               THE COURT:     Yes?
 22               MR. CORBITT:      Your Honor, Craig Corbitt, I am
 23   just here for the indirects today.           And I appreciate
 24   your comments a few minutes ago that you are not going
 25   to put any weight on the decision of the indirect


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  1   purchasers to enter into this stipulation, and I was
  2   just going to say what you just said.
  3               But I wanted to also point out that in the
  4   stipulation, in fact the very last sentence of it,
  5   paragraph 6, it says "This stipulation and evidence of
  6   any negotiations of this stipulation shall not
  7   constitute any admission, evidence, concession, or
  8   waiver by the indirect purchaser plaintiffs regarding
  9   the merits of the Rule 11 motion."
 10               We signed it, Mr. Alioto signed it as counsel.
 11               THE COURT:     I understand.
 12               MR. CORBITT:      Defense counsel signed it.          And
 13   frankly, it's improper for them based on this
 14   stipulation to be making the arguments that what we did
 15   has any bearing on their motion against the direct
 16   purchasers.
 17               And if I might say one more thing, and it's
 18   not substantive, but simply the point that Mr. Savari
 19   made about the reputation of counsel and that that is
 20   something, and their history and so forth, that that is
 21   something that you should give weight to --
 22               THE COURT:     I hate you people making these
 23   things personal.
 24               MR. CORBITT:      And that Mr. Saveri and all his
 25   colleagues on this side of the table and the other


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  1   people he mentioned, I know from personal experience is
  2   the highest.     And I am confident that they would not do
  3   anything that did not meet the highest standards of
  4   complete...
  5               THE COURT:     Okay.    All right.
  6               MR. KESSLER:      Shall we take a few-minute
  7   break --
  8               THE COURT:     Yes.
  9               MR. KESSLER:      -- before we go up?        Because we
 10   have been going at it for I think over two hours.
 11               THE COURT:     Yeah.    And our court reporter...
 12               MR. KESSLER:      In deference to our court
 13   reporter and to your Honor.
 14               THE COURT:     Wait, let me tell you what I want
 15   to do.
 16               We'll take a break, then you come back with
 17   your closing remarks on this motion, then I want to
 18   immediately proceed to the discovery motion.
 19               Who is going to argue the discovery motions?
 20               MR. HEMLOCK:      I will, your Honor, for on
 21   behalf of the plaintiffs.
 22               THE COURT:     Okay.
 23               MR. KESSLER:      Mr. Hemlock will.
 24               THE COURT:     Okay.
 25               MR. KESSLER:      But my reply, your Honor, will


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  1   take just a little bit of time since they went on for
  2   some time.
  3                THE COURT:     Oh, I understand.       We want to do
  4   that.    What I'm trying to say is we are not going to
  5   take a break for lunch.
  6                MR. KESSLER:     That's fine.
  7                THE COURT:     We are just going to take a short
  8   break, come back for your reply, and then argument --
  9                MR. KESSLER:     Thank you, your Honor.
 10                THE COURT:     -- on the discovery motion.
 11                (Whereupon, a recess was taken
 12                 commencing at 12:14 P.M. and
 13                 concluding at 12:29 P.M.)
 14                THE COURT:     All right.     Let's resume, please.
 15   Let's resume, please.
 16                All right, Mr. Kessler, you are standing up.
 17                MR. KESSLER:     Standing up for this part.
 18                THE COURT:     Okay.
 19                MR. KESSLER:     Got myself a little time.
 20                THE COURT:     Do you want the podium?
 21                MR. KESSLER:     No, your Honor.
 22                THE COURT:     Okay.
 23                MR. KESSLER:     Your Honor, first, again, lots
 24   of the argument we heard have nothing to do with the
 25   issues on this motion.        I want to make that clear so


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  1   your Honor knows.
  2                I want plaintiffs' counsel to know, we did not
  3   make an argument, we did not make a motion under 28 USC
  4   1927 accusing them of bad faith.            And I will state we
  5   are not accusing plaintiffs' counsel of bad faith, so if
  6   anyone thought that, I thought we were very clear in our
  7   brief we were not making that type of claim here.
  8                I also want to make it clear that this is not
  9   the time we agree to argue whether they have standing
 10   under the Sugar case or the Linerboard case or whether
 11   this constitutes whatever the conduct is constitutes a
 12   violation under Sony or Catalano.            Those are not issues
 13   we presented in our motion.         Okay.     And they are not
 14   issues that are here.
 15                And I'm particularly interested because there
 16   was so much discussion about LCD.            Let's be clear about
 17   LCD.     And I think Bruce was clear about this, but I want
 18   your Honor to be clear about it.
 19                There is no claim in LCD of a unitary
 20   conspiracy that fixed the prices of the end products
 21   that they have just articulated here.            In LCD they
 22   argued impact, okay, and they argued that under the
 23   Sugar Linerboard cases they have standing to sue for
 24   that.     Okay.
 25                If they were doing that here, I wouldn't have


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  1   this motion.     Okay.    So they should be doing, asserting
  2   what they is asserted in LCD.          That's why I am stunned
  3   that they are talking about LCD so much, because that's
  4   exactly what they are not doing hear here.
  5                Here they made a decision, they made a
  6   decision to expand and change the claim in a way for
  7   which there is no objectively reasonable basis at all.
  8   And I am stating objectively reasonable.
  9                It's interesting, Mr. Saveri said he thought
 10   this was an attack on his credibility and it was an
 11   attack on his pre-investigation, and he went through
 12   that.     That's not the basis of our motion, again.            Okay.
 13   We are not making this a personal inquiry as to what did
 14   counsel do and what did counsel not do.
 15                We are going their way on objectively
 16   reasonable, okay, that there is no objectively
 17   reasonable basis that they had to assert a conspiracy
 18   claim here that extended beyond tubes, except for
 19   impact.
 20                And on the issue of impact, to say it the way
 21   your Honor said it, when asked the question, impact is
 22   not conspiracy.      There is no such economic doctrine,
 23   there is no such legal doctrine, there is no such
 24   logical doctrine, there is no such objectively
 25   reasonable doctrine.       There is no way to say because


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  1   they have a basis to allege impact that that gives them
  2   a basis to allege a conspiracy with respect to that.
  3                Now, here is the type of problems we have.             So
  4   Mr. Savari read from the recent joint sentencing
  5   memorandum involving SEC.         And he said aha, they spoke
  6   about the CRT products, which must mean that it includes
  7   finished products in that.
  8                Now, the term "products" is defined in the
  9   joint sentencing memorandum as we pointed out in
 10   footnote 2 of our reply brief.            It's defined by the
 11   government and SCI -- I'm sorry, SDI, not SEC, sorry,
 12   different company.       Sorry.    SDI.     Sorry.   It's defined
 13   in the memorandum to apply only to the tubes by
 14   virtue -- so what -- and this is typical of what we
 15   have, is that they take something and they go here is my
 16   objectively reasonable basis.          It's defined the other
 17   way.     That's the problem we have, your Honor.
 18                Your Honor heard Mr. Saveri read a lot of the
 19   documents.     The documents are exactly what your Honor's
 20   impression of them are.        They are documents.        He had one
 21   about LCD, that the TVs have to compete with the LCD, so
 22   this constrains what the TV prices can be.             Therefore,
 23   we have to think about how much could we charge for a
 24   tube because of what the TV price market is like.
 25                That doesn't show a basis, an objectively


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  1   reasonable basis to allege there was a conspiracy
  2   involving the TV prices.         That's the opposite.        It's
  3   exactly the opposite, as your Honor said.
  4               And this is completely, you know, you are
  5   sitting and it's like Alice In Wonderland because it's
  6   the opposite of an objectively reasonable basis.
  7               Think, your Honor, the following in terms of
  8   their argument.      Let's imagine a world in which there
  9   were no integration, okay, and that which a group of
 10   tube manufacturers who had nothing to do with television
 11   manufacturers got together and imagined an allegation,
 12   they are sitting there discussing tube prices, and they
 13   said to each other gee, we have to worry about how much
 14   these TV companies are going to be able to charge
 15   because they are competing with each other and this is
 16   what they can charge and they only can absorb so much,
 17   they are going to refuse our price increases, especially
 18   since LCD competes with CRT, plasma competes with CRT.
 19   They are not even these components.
 20               So we have to think about that.           Would that
 21   mean because they discussed impact there was a
 22   conspiracy involving a basis to allege a conspiracy
 23   involving the televisions when they wouldn't even make
 24   the televisions?
 25               And then they say well, wait a minute,


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  1   Mr. Kessler, but the facts are some of you are
  2   integrated, says well, how does that charge anything --
  3   change anything?      As your Honor pointed out, they don't
  4   allege anywhere that all of the TV manufacturers met,
  5   they don't even allege that the affiliated TV companies
  6   met.
  7                In other words, there is no Chunghwa document
  8   to show -- and I'll give what you I mean by that.               MTPD
  9   is a Panasonic joint venture with Toshiba -- eventually
 10   Panasonic today owns it all, but at the time with
 11   Toshiba, so it's another company, they made tubes.
 12   Okay.    They did sell some of their tubes, although not
 13   all of them, they sold some of them to Toshiba
 14   sometimes, and sometimes to Panasonic, a different
 15   company.
 16                There is no allegation in any of those
 17   Chunghwa documents that any of those companies met to
 18   discuss TV prices, the affiliated companies.              The only
 19   one who met was MTPD according to those documents that
 20   they cite.     Chunghwa had no affiliated company.
 21                And as your Honor pointed out, there is no
 22   allegation that Sony or Sharp -- Sony is a great
 23   example.     Sony made its own tube called the Trinitron
 24   tube, your Honor may have heard of that.             Okay.    It's
 25   different from a cathode ray tube.           None of these


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  1   companies even made the Trinitron tube.
  2                So Sony made its own tubes.         So it had nothing
  3   to do with this whole issue with respect, it wasn't even
  4   behind the tubes for this.
  5                Now, the idea that because someone might say
  6   Sony is out there competing and it's going to limit what
  7   the TV prices are, so that makes it a TV conspiracy to
  8   allege?     And again, this is -- there is just no
  9   objectively reasonable basis.
 10                These arguments started by saying they have
 11   killer evidence.      They don't have killer evidence.            They
 12   have no evidence.       This is zero.      It's a zero, empty
 13   box.     It was an empty box at the time of the complaint
 14   about this claim, and it's an empty box now.
 15                Now, they have a lot of evidence they used,
 16   the 400 plus meetings and all that.            But they don't have
 17   any basis for this portion of it.
 18                And your Honor, here is what I want to get to.
 19                THE COURT:     Wait, wait a minute.       On this
 20   industry structure and all.
 21                MR. KESSLER:     Yes.
 22                THE COURT:     I -- I have made the argument to
 23   plaintiffs' counsel that I didn't think impact equaled
 24   conspiracy.     But before any final decision were made on
 25   the relationship between tubes pricing and finished


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  1   pricing, aren't both sides going to have to have some
  2   economic evidence and some economic opinion --
  3               MR. KESSLER:      On the issue --
  4               THE COURT:     -- about cause and effect?
  5               MR. KESSLER:      On the issue of impact.         The
  6   point here is under no circumstances with impact,
  7   imagine 100 percent impact, it wouldn't still make it
  8   into a conspiracy among the television manufacturers or
  9   the tube --
 10               THE COURT:     Well, if there were 100 percent
 11   impact, would it not be logical that the people meeting
 12   over fixing the price of tubes would necessarily be
 13   meeting about fixing the price of finished product?
 14               MR. KESSLER:      Absolutely not.       And -- that's
 15   absolutely not.      And that's why I gave you my
 16   hypothetical.
 17               Let's assume that it is completely no
 18   integration at all.       Okay.    But let's assume that there
 19   is going to be a hundred percent impact shown that if
 20   they raise the price of their -- of their -- of their
 21   tubes, a group of completely unrelated television
 22   companies, the victims, if you will, the direct
 23   purchaser, in fact the direct purchaser are members of
 24   their class, the direct purchasers let's say for
 25   whatever economic reason turned out passed it all down


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  1   to the consumers, completely passed it down, would that
  2   mean that that in any way would be an objectively
  3   reasonable basis to show that the component suppliers
  4   were conspiring to fix the price of the televisions,
  5   which they don't even make or determine the price?
  6                It would mean that their alleged price fixing
  7   agreement had a big impact.         That's what it would mean.
  8   A very big impact.        But it would do nothing if a group
  9   of automobile suppliers agreed to fix the price of
 10   engines, okay, and GM and Ford and Toyota raised their
 11   prices.     Would that be a price fixing conspiracy of the
 12   price of cars?      No.    It's just impact.      That's all that
 13   it is is impact.      And it doesn't ever raise to this.
 14                And that's by the way what they alleged in
 15   LCD.     In other words, that's -- that's an allegation
 16   that I wouldn't make a Rule 11 motion against.               It's
 17   what the indirects are now alleging here.             And I'm not
 18   arguing the fact that the indirects stipulated has to do
 19   with whether they have a good faith basis or not, but
 20   the point here is that's the correct allegation that
 21   they can make without running into Rule 11 about this.
 22                Now, your Honor, I want to go to the timing
 23   point, because you know, this is an important point.                So
 24   I'm reading from the Federal Rules of Civil Procedure,
 25   the Advisory Committee notes, on subdivision B and C.


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  1   This is --
  2                THE COURT:     On Rule 11?
  3                MR. KESSLER:     Yes.    And this is interesting
  4   because your Honor will know that Rule 11 was -- was --
  5   specifically addresses what happens when you make an
  6   allegation on information and belief, okay, as opposed
  7   to, you know, just state the allegation.
  8                THE COURT:     Yeah.
  9                MR. KESSLER:     Hey, and in fact, it's
 10   interesting because the allegations we are talking on
 11   here are not made on information and belief.              But that's
 12   a different story.
 13                But even if you make it on information and
 14   belief, what the advisory committee notes says is the
 15   following:     "Tolerance of factual contentions in initial
 16   pleadings by plaintiffs or defendants when specifically
 17   identified as made on information and belief does not
 18   relieve litigants from the obligation to conduct an
 19   appropriate investigation into the facts that is
 20   reasonable under the circumstances."            And this is the
 21   key point, "It is not a license to join parties, make
 22   claims, or present defenses without any factual basis or
 23   justification."
 24                That's what we are arguing here, that this is
 25   a claim that was asserted without any factual basis and


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  1   justification.
  2               And what the advisory committee notes is
  3   saying, even if you do it on information and belief,
  4   says you have to have some, some modicum factual
  5   justification or basis before doing this.             And the
  6   Townsend case makes it clear it could be just part of a
  7   claim, it doesn't have to be the whole complaint, I
  8   don't even hear them arguing that any more because the
  9   law is pretty clear in the Ninth Circuit through the en
 10   banc decision.
 11               Another point on timing, the rules of this
 12   court, if I can find that, the local rules of the
 13   Northern District of California state as follows, this
 14   is local rule 7-8(c), quote, this is on Rule 11 motion,
 15   "The motion must be made as soon as practicable after
 16   the filing party learns of the circumstances that it
 17   alleges make the motion appropriate."
 18               And then they cite a Supreme Court case that's
 19   relevant to this, okay, which says district courts can
 20   adopt rules, that's the Cooter case, to do the timing.
 21               Now, why did this court, the Northern District
 22   say that?
 23               THE COURT:     What's the local rule?
 24               MR. KESSLER:      It's local rule 7-8(c).
 25               And the reason they said that is because


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  1   nobody thinks that the rule of Keegan is what plaintiffs
  2   suggested at the beginning, which is that what you have
  3   to do is wait until all discovery is done, which could
  4   be, in this case could be years later, and then they
  5   make a Rule 11 motion back about the complaint that had
  6   been filed years before.         How can I comply with the
  7   local rule?     What we did is we did something else.             We
  8   served discovery.
  9               Now, unfortunately your Honor knows it took a
 10   long time to get that discovery answered, but we served
 11   discovery, we pursued that diligently, it took months to
 12   get it before your Honor after meet and confers and
 13   argument, then your Honor order it, and then eventually
 14   it took more time for them to comply, as soon as we
 15   could evaluate what they had and didn't have, that's
 16   when we brought the motion, that's what the rule
 17   requires.
 18               And so it can be that somehow Keegan is meant
 19   to understand -- and I don't think there is any case
 20   that I am aware of, and they point to none, that says
 21   since Keegan, and Keegan was rendered in 1996, right?
 22   So we have gone now 15 years since Keegan.             I have never
 23   seen a district court case that I am aware of, at least
 24   in the entire Ninth Circuit that has said that what
 25   Keegan means is that you can no longer bring a Rule 11


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  1   motion until all discovery is done because it may turn
  2   out that somehow discovery would back, you know,
  3   would -- would support it there.           This makes absolutely
  4   no sense.     It would defeat the whole basis of the rule.
  5               I also would note that post Keegan, the Ninth
  6   Circuit ruled in the Barber case that we cited, 1998, it
  7   said there you can't wait until after the summary
  8   judgment in which the criticism was the reverse, said
  9   you got to bring it early enough that -- that the
 10   parties can react to it and avoid -- that was the whole
 11   purpose of safe harbor.        Safe harbor was the idea
 12   someone does something that you think has a Rule 11
 13   issue, give them 21 days to cite it before the adverse
 14   effects occur.      So it's safe for both sides.          And that's
 15   the only thing that makes sense in terms of this.
 16               The Chunghwa admissions, I would submit, your
 17   Honor that these are first of all, they are relevant.
 18   And Mr. Simon's arguing the wrong point.             Okay.    The
 19   issue is not whether they could be admissible at trial
 20   against the plaintiff.        We are not here in a trial
 21   setting where you consider admissible evidence.               What
 22   you are looking at is did they have an objectively
 23   reasonable basis for making this particular claim.
 24               Their response was we had this massive proffer
 25   from Chunghwa and all these documents.            It is relevant


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  1   to your inquiry to see what Chunghwa responded by the
  2   way under penalty, because these are verified answers.
  3   I know they seem to impugn the person who signed them,
  4   but these are verified on behalf of the party, and you
  5   can absolutely rely upon these to make the determination
  6   as to whether they had an objectively reasonable basis.
  7               But your Honor has to assume Chunghwa is not
  8   lying now in these verified answers, so this has to have
  9   been the same information that they would have gotten
 10   from Chunghwa.
 11               And by the way, what I didn't hear them say
 12   when Mr. Saveri read his notes, I didn't hear in any of
 13   his notes that anyone from Chunghwa told them there was
 14   a conspiracy that fixed the prices of televisions or
 15   monitors or affected, you know, or, you know, and set
 16   the prices or did allocation for that.            In other words,
 17   that wasn't in any of his notes of his conversations
 18   with Chunghwa.
 19               All that was there at least that I heard was
 20   the same thing the documents say, which is that they
 21   took into account sometimes the prices in deciding what
 22   they could do with respect to tube prices.
 23               So again, I think, your Honor, these are very
 24   relevant and they go, you know, to your determination
 25   today as to whether there is an objectively reasonable


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  1   basis or not.
  2                Now, I also want to say, your Honor, the issue
  3   of internal transfer prices they discussed about.               Okay.
  4   Their argument was that there was an indication by the
  5   two companies that that would apply, for example, to a
  6   sale by MTPD to Panasonic, let's say.            That's what they
  7   are calling an internal transfer.           Well, I don't
  8   understand how that gets them to -- to -- to a monitor
  9   or a television conspiracy.         Let's look at that.
 10                MTPD was a joint venture between Toshiba and
 11   Panasonic.     So their allegation is as a tube company,
 12   MTPD was agreeing to prices for everyone, including a
 13   company for which it had an affiliation.             So let's give
 14   them that that's their allegation, that the price was
 15   set to Panasonic as a purchaser.
 16                What does that say about what price
 17   Panasonic's going to charge as a television company?
 18   Panasonic, which is a different company with a different
 19   ownership, is going to then have to decide whether it's
 20   an affiliated company or not, this is how much I paid,
 21   so it may have some impact, it may not, depending on the
 22   competition in the television market.
 23                No matter what, it's just an impact issue.
 24   Again, it does nothing to get them, whether it's a --
 25   whether it applied to those related company sales or


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  1   not, doesn't get you to a conspiracy at the end, because
  2   for that they would have to have an allegation that
  3   somehow the TV companies themselves had some discussions
  4   among themselves about TV prices or the computer monitor
  5   companies themselves had some discussions about
  6   computers.     There is no allegations of that.           There is
  7   nothing in the documents about that.            There is nothing
  8   in the basis for that.        So again, they just can't add
  9   something for which there is no basis in that way.
 10                Okay.    Next point.     The statements about all,
 11   when what Mr. Simon's argument is is as follows, if I
 12   understand it, if they had discussions of TV prices and
 13   if it had an impact on TV prices, then that's enough for
 14   them to allege a conspiracy regarding the TV prices as
 15   well.    That's how I understand both unitary, both the
 16   CRTs and the TV prices.
 17                I would say, you know, it is not only
 18   reasonable to reach that conclusion, that just like you
 19   can apply common economics on a Twamly motion, which as
 20   you know the courts do, that they will say well, this
 21   doesn't make any economic sense, I can't credit that as
 22   being plausible, you can -- and objectively
 23   reasonable -- say what they had a basis to do is to
 24   allege what they allege in LCD or what the indirects are
 25   now alleging and that that's the case we should be


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  1   prosecuting so that the parties are not going to incur,
  2   it can't be the rule that you have to incur without any
  3   objectively reasonable basis class action defense,
  4   expert analysis, all of these different things when
  5   there is no objectively reasonable basis for their...
  6               Finally the statement about the expert, that's
  7   what I want the mention.         We heard that they had an
  8   expert look at this.       If they want to submit that to
  9   your Honor in-camera, I have no objection to that.
 10   That's actually what the rule says.            It says they are
 11   not required to share it with us.           If they want to rely
 12   upon it, they could submit an in camera to your Honor.
 13               I am 100 percent confident that their expert
 14   did not say based on whatever they told him that there
 15   was an objectively reasonable basis for a conspiracy
 16   involving televisions and monitors based on, as
 17   Mr. Saveri said, looking at the government
 18   investigations, says and looking at the market facts,
 19   all of which related to CRT.          When he talked about, for
 20   example, a homogeneous product and concentration, that's
 21   CRTs where price is the only element.
 22               Your Honor, as a TV purchaser, could there
 23   have been a market fact that televisions are
 24   homogeneous?     Could there have been a market fact that
 25   price is the only element in consumers purchasing


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  1   televisions?     Could there have been a market fact that
  2   the television industry is concentrated, given the vast
  3   number of sellers of televisions?           No, there is no such
  4   fact.
  5               And that's why I invite, I welcome and I
  6   implore him to give you in-camera whatever his expert
  7   said.    It won't say that.       I am quite confident it won't
  8   say that.
  9               And so, your Honor, the end of the game here
 10   is at a minimum, at a minimum this case should be --
 11   result in a Rule 11 finding, not bad faith, your Honor
 12   doesn't have to make any finding of bad faith, just on
 13   objectively reasonable that the allegation should be
 14   limited to essentially what they did in LCD and to what
 15   the indirects are doing here, we'll move forward with
 16   the case then.
 17               All the other issues -- Sugar, Sony,
 18   Catalano -- those are issues for another day.              They are
 19   not issues for today.        Those are issues, you know,
 20   whether or not they have standing or whether or not they
 21   don't have standing, that's not for this motion.               This
 22   is simply to define what was a proper allegation they
 23   had a basis of in this case.
 24               I think Mr. Simmons may want to say one more
 25   thing.    Otherwise unless your Honor has questions, I


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  1   think I have covered it as well.
  2                THE COURT:     Thank you.
  3                MR. SIMMONS:     Two things, actually, very
  4   brief, your Honor.        Thank you for all the time you have
  5   afforded everyone in this room.
  6                First thing, let me take the expert point.             We
  7   cite this in the brief, and the Supreme Court has said
  8   it many times, expert testimony -- in the Brook Group
  9   case, expert testimony is useful as a guide for
 10   interpreting facts, it's not a substitute for them.
 11   This motion is shining a spotlight on what facts they
 12   had.     I still think is it a zero on the finished
 13   product.
 14                Second point, very brief, your Honor.
 15   Mr. Simon in virtually every hearing lovers to trot out
 16   the Sugar case, trot it out in what it purportedly
 17   shows.     Let me read this briefly, a passage from their
 18   opposition on Sugar and identify for you the slight of
 19   hand they are making for the court.
 20                They say on page 23, quote "Finally, as
 21   plaintiffs have explained in their supplemental
 22   interrogatory answers (DPP's response to LGE at 66-67) a
 23   conspiracy as to CRT dollars is equivalent to a
 24   conspiracy as to finished products."            Period.    Close
 25   quote.     They are equating the two.


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  1               THE COURT:     I'm sorry, what are you reading
  2   from?
  3               MR. SIMMONS:      Page 23.
  4               THE COURT:     Of what?
  5               MR. SIMMONS:      Plaintiffs' opposition to the
  6   Rule 11.
  7               THE COURT:     Page 23?
  8               MR. SIMMONS:      Uh-huh.     Plaintiffs' memorandum
  9   of points and authorities.
 10               THE COURT:     Yeah, I have got it.        Now, where
 11   are you reading?
 12               MR. SIMMONS:      Page 23.
 13               THE COURT:     Yeah.
 14               MR. SIMMONS:      Line 6, your Honor.        You see
 15   beginning "Timely"?
 16               THE COURT:     Yeah.
 17               MR. SIMMONS:      Okay.     I just read that first
 18   sentence.
 19               Then they cite Sugar and they have the quote.
 20   "Plaintiff is a direct purchaser and therefore entitled
 21   to recover the full extent of the overcharge."
 22               Let me say a word about Sugar.           Mr. Simon
 23   loves to always hold that case up.
 24               MR. SIMON:     I thought we weren't being
 25   personal.


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  1                MR. SIMMONS:     Well, I'm just referring you
  2   to --
  3                THE COURT:     Okay.   All right.      Come on.
  4                MR. SIMMONS:     Counsel likes to hold up Sugar.
  5   Sugar was a case where the question presented to the
  6   Third Circuit, whether -- whether you agree that they
  7   came out with the correct way or the incorrect way on
  8   the question presented, I believe they came up with the
  9   incorrect way on the question presented.
 10                The question presented was the following:
 11   Whether a plaintiff that purchased candy from a company
 12   that made both refined sugar and candy had standing as a
 13   direct purchaser where the conspiracy extended only to
 14   refined sugar, the input itself.
 15                Sugar proves our point.        No one is -- proves
 16   our point.     The third circuit did not say that, well,
 17   there is a conspiracy both as to refined sugar, a
 18   conspiracy as to refined sugar is equivalent to a
 19   conspiracy as to candy.        That's not what they said.
 20                They said that if a company made both, the
 21   refined sugar, that was the subject of the price fix,
 22   and the candy, and the plaintiff purchased the candy,
 23   the Third Circuit said you are not barred under
 24   Illinois --
 25                MR. KESSLER:     And that issue isn't being


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  1   argued today.
  2               MR. SIMMONS:      And -- Mr. Kessler, if I could
  3   just finish -- I happen to believe that rule of law is
  4   incorrect and many circuits have disagreed with it.                But
  5   counsel has made our point.           The Third Circuit said that
  6   the conspiracy is about -- is about refined sugar, the
  7   input.    That's what we are saying here.           If there is a
  8   conspiracy here, it's about the tubes.
  9               They did not say ipso facto it's a conspiracy
 10   as to candy.     They said the opposite.
 11               And I'll rest with that.
 12               THE COURT:     Okay.      Anybody else wish to speak
 13   for defendant?
 14               Plaintiffs, you want --
 15               MR. LEHMANN:      Can I take two or three minutes
 16   max?
 17               THE COURT:     I'm literally going to give you
 18   three minutes.
 19               MR. LEHMANN:      Okay.     Going to be quick.
 20               Let me sum up what we told you that we had
 21   when we filed this complaint.
 22               THE COURT:     I'm sorry --
 23               MR. LEHMANN:      We had the oral reports from
 24   Chunghwa proffer on documents showing discussion --
 25               THE COURT:     Yes, that's right.


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  1               MR. LEHMANN:      -- of pricing of products
  2   containing CRTs.
  3               THE COURT:     Yeah.
  4               MR. LEHMANN:      And the interrelatedness of how
  5   prices were set for CRTs and those products.
  6               We had the expert analysis that's been
  7   discussed, we had the evidence of vertical integration
  8   of the seven defendant groups that we talked about, and
  9   which Judge Conti said it is economically plausible that
 10   affiliated companies would wish to see any price
 11   increases in CRTs pass through to the purchasers of CRT
 12   products.
 13               We had the comments of the DOJ in February
 14   10th, 2009, shortly before we filed the complaint
 15   regarding the indictment C. Y. Lin, and again Judge
 16   Conti said when he looked at that press release that
 17   when announcing the indictment the acting assistant AG
 18   in charge of antitrust division suggested the conspiracy
 19   extended beyond CRTs themselves.           Our interpretation is
 20   a reasonable one.
 21               We had evidence of JFTC proceedings that found
 22   Panasonic, Toshiba, Hitachi fixed resale prices of CRT
 23   televisions.
 24               We had evidence of the economic structure of
 25   the market and reports that indicated that CRT tube


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  1   prices determined CRT television prices.
  2               And we had evidence from what happened in LCDs
  3   which was a very similar industry and a very similar
  4   conspiracy where the complaint was sustained.              And what
  5   did that complaint allege, your Honor?            It said the
  6   class was those who directly purchased a TFT LCD product
  7   in the U.S. from any defendant or coconspirator, and a
  8   TFT LCD product was defined in that complaint as
  9   including TFT LCDs and products containing them.
 10               The totality of this we think establishes that
 11   the complaint was not objectively baseless, baseless
 12   with respect to the claims involving products containing
 13   CRTs.
 14               But even if you disagreed with us there, it
 15   certainly establishes a reasonable inquiry.              And if we
 16   win on that point, they lose on their motion.
 17               One last point, and then I'm done.            Timing.
 18   The defendants neglect to cite the advisory committee
 19   notes of Rule 1 which state "In the case of pleadings,
 20   the sanctions issue under Rule 11 normally will be
 21   determined at the end of the litigation."             Where did the
 22   advisory group get that?         They got from it Supreme
 23   Court's decision in 1990 in Cooter and Gell where it
 24   said exactly that.       The time, they want to make a
 25   Rule 11 motion is to defer it until we deal with summary


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  1   judgment.
  2               That's what the Supreme Court said, that's
  3   what the advisory committee has said.            And we think your
  4   Honor is bound by that.
  5               MR. KESSLER:      Your Honor, just one --
  6               THE COURT:     I am confused.
  7               MR. KESSLER:      Yes.
  8               THE COURT:     Not confused.       I am hearing two
  9   different things.       I heard him say that LCD did not
 10   involve conspiracy in finished products.             I think what
 11   he just read indicated it did.
 12               MR. SIMON:     The class was certified for two
 13   subclasses:     Finished products and components.            And I
 14   think there were several hearings.           I have explained
 15   what my understanding of the allegations in this
 16   complaint are.      And I think your Honor could look at the
 17   LCD rulings which we cited to you and could read the
 18   allegations thereunder compare the two.
 19               THE COURT:     Well, I would have to do the
 20   homework.
 21               MR. SIMON:     No matter how much Mr. Kessler
 22   tries to argue it and I try to argue what I'm arguing,
 23   it seems like we are never going to have a meeting of
 24   the minds, and I would prefer that your Honor look at
 25   those cases and I think it will be self-evident.


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  1               But at the time we filed the complaint in the
  2   this case, we had the 2008 decision of Judge Illston in
  3   LCD sustaining that complaint with those allegations.
  4               THE COURT:     Well, but what, a Rule 12 motion?
  5               MR. SIMON:     Rule 12 motion.
  6               THE COURT:     Well, that doesn't get eye
  7   anywhere.     I mean --
  8               MR. SIMON:     But the fact is, the question is
  9   not whether it gets us anywhere, but whether that's part
 10   of our reasonable inquiry.         And under an objective basis
 11   we could say that considering the law that existed in
 12   the circuit at the time we filed the complaint, we had a
 13   good faith basis for proceeding here.
 14               MR. KESSLER:      Your Honor, this --
 15               THE COURT:     I don't follow.
 16               MR. KESSLER:      One minute.      Because --
 17               THE COURT:     I don't follow that.
 18               MR. KESSLER:      Here is -- here is what they are
 19   conflating.     They are conflating Rule 11 and Rule 12.
 20   It is true that Judge Conti ruled here that the
 21   allegations they set forth passed Rule 12.             We don't
 22   disagree with that.       And Judge Illston said that.
 23               That tells you nothing about in either case
 24   whether there was an objectively reasonable basis based
 25   on a reasonable inquiry to make the allegations were


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  1   there, Judge Conti didn't examine that, Judge Illston
  2   didn't examine that.        So we know nothing.
  3                And I am listening to Mr. Simon very
  4   carefully, who is a great lawyer and I praise him, and
  5   an honest lawyer.       He is not going to tell your Honor in
  6   this record that they are alleging in LCD, in that case,
  7   that there is a unitary conspiracy to fix the prices of
  8   the finished products, because he knows that's not what
  9   they are doing.
 10                There is a direct purchaser class and an
 11   indirect purchaser class.           It is true that they are an
 12   impact, you know, they are an impact in LCD letting that
 13   case go forward, but not based on the type of allegation
 14   made here.     Mr. Simon knows that, and to his credit he
 15   hasn't said anything else.
 16                He's done a very effective job to say a lot of
 17   other things, but he won't say that.
 18                THE COURT:     Okay.     Okay.
 19                Matter stands submitted?
 20                MR. SIMMONS:     Yes, your Honor.        Despite the
 21   fact I have a lot more to say.
 22                THE COURT:     Pardon me?        Oh, I'm sure.
 23                MR. SIMMONS:     Especially on the evidentiary
 24   point.
 25                THE COURT:     Okay.


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  1               MR. SIMMONS:      But I won't say anything.
  2               THE COURT:     All right.      Here we are.      Okay.
  3               Now let's turn to the plaintiffs' motion by
  4   the direct purchaser plaintiffs against Panasonic, MT,
  5   and it started out against LG also, but I did receive a
  6   letter indicating that the plaintiffs and LG have agreed
  7   on that, so they are out of it.
  8               Now, the motion itself, the motion of April
  9   20, what does it ask for?          At the very end it says
 10   plaintiffs' motion to develop discovery with respect to
 11   CRT products should be granted.
 12               Now, at that point, then, I'm saying to myself
 13   well, that's the issue we have got in the Rule 11
 14   motion, and plaintiffs want discovery on that issue.
 15   And it's not necessary for me to go through and parse
 16   out the specific questions that were asked or the
 17   specific demands made and see whether that's been
 18   complied with, but just deal with the subject of CRT
 19   products.
 20                      BY MR. R. ALEXANDER SAVERI
 21               MR. SAVERI:      If I may, your Honor, address two
 22   things you have talked about, first of all.
 23               THE COURT:     Yeah.
 24               MR. SAVERI:      The first thing is you are
 25   correct, the initial motion was against two defendants,


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  1   LG as well as the Panasonic defendants.
  2                THE COURT:    Yeah.    Right.
  3                MR. SAVERI:     The reason we have dropped the
  4   motion against LG is because we have worked that out
  5   with them.
  6                THE COURT:    Yeah, I understand that.
  7                MR. SAVERI:     And they are producing finished
  8   product documents on a custodial basis.
  9                What we are asking for now is that the
 10   Panasonic defendants be treated just like all the other
 11   defendants, that they produce finished product discovery
 12   on -- on a custodial basis just like you ordered against
 13   Hitachi, just like LG has agreed to do, and just like
 14   every other defendant has agreed to do, and your Honor
 15   has ordered it against Hitachi.
 16                Where we are with Panasonic, and I think this
 17   is very clear, your Honor, originally -- let me back up,
 18   let me say one thing.
 19                With Panasonic we have agreed on the
 20   custodians.     It's done.     We have 53 agreed-upon
 21   custodians.     There is no longer a dispute of who or
 22   where those people are or where they will go look for
 23   documents.
 24                And as your Honor said in his previous hearing
 25   on the custodian, this issue, the issue of going on the


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  1   custodial basis will take in this overarching objection
  2   that we started almost a year ago.
  3               THE COURT:     Yeah.    Yeah.
  4               MR. SAVERI:      Which was time period, the --
  5               THE COURT:     I understand.
  6               MR. SAVERI:      And the finished product.
  7               THE COURT:     I understand.
  8               MR. SAVERI:      And so by going custodial, that
  9   will take out the big undue burden issue for defendants
 10   and resolve those overarching objections so that we
 11   could get to the responsive material that plaintiffs are
 12   seeking.
 13               And we have worked that out with everybody,
 14   your Honor ordered it as against Hitachi.
 15               But more particularly --
 16               THE COURT:     Well, have you agreed with them on
 17   custodians, leaving the issue of subject matter aside?
 18               MR. SAVERI:      Say that again?      I'm sorry, your
 19   Honor?
 20               THE COURT:     Have you agreed with the
 21   respondents here, Panasonic --
 22               MR. SAVERI:      Yes.
 23               THE COURT:     -- and MT about custodians?
 24               MR. SAVERI:      Yes.
 25               THE COURT:     Who they are?


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  1               MR. SAVERI:      Yes.
  2               THE COURT:     How many there are?
  3               MR. SAVERI:      53, your Honor.      We have the
  4   names.
  5               THE COURT:     Okay.
  6               MR. SAVERI:      All 53.
  7               And I want to make one point very clear here,
  8   your Honor, which is when this meet and confer process
  9   started with Panasonic, they initially agreed to produce
 10   finished product discovery on the custodial basis.
 11   There was no undue burden at that point.
 12               They changed position 180 degrees because your
 13   Honor ordered us to answer the contention
 14   interrogatories.      When we had to answer the contention
 15   interrogatories, Panasonic withdrew its position and
 16   said we will not produce finished product discovery
 17   until -- and until we see your discovery and until we
 18   are satisfied with your discovery.           That then derailed
 19   all the finished product discovery against Panasonic.
 20               And that exact issue came up before your Honor
 21   with Hitachi.      And as your Honor may recall, your Honor
 22   instructed all parties that one party's discovery is not
 23   conditioned on another party's discovery.             That's the
 24   whole point.     Your Honor wanted to move discovery
 25   against all parties.


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  1                So one party can't say well, let me see what
  2   you produce and then only if I'm satisfied with that
  3   well then I agree to respond to your discovery.               That
  4   issue was resolved.
  5                And that objection made by Hitachi you
  6   overruled, your Honor, that's the same objection being
  7   made by Panasonic.
  8                There is two -- there is two objections that
  9   they are holding up, your Honor, given finished product
 10   discovery.     One, we haven't made a prima facie case.               We
 11   haven't made a showing.        We haven't made a showing there
 12   is any evidence of a conspiracy in finished products,
 13   therefore you don't get any.
 14                Your Honor, we cited that, the transcript
 15   where you overruled that.         We held that.      There is no
 16   requirement of a prima facie showing.
 17                The second one is burden, undue burden.            But
 18   that was also overruled by your Honor and we said we are
 19   going to go custodial base.         And the whole purpose of
 20   the custodial base was to limit them having to do from
 21   the top of the roof down to the basement to go search
 22   everybody's files for responsive material.
 23                And it was to limit it to a set amount of
 24   agreed upon custodians.        And we have done that.         We have
 25   done that amount with Panasonic.           We have agreed on


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  1   those people.
  2                And second of all, that undue burden argument
  3   here is a disguise, your Honor, because in fact they
  4   agreed to produce finished product documents originally
  5   and then took a 180 degrees because we had to answer the
  6   contention interrogatories, your Honor.
  7                So their undue burden argument or burden
  8   argument at this point is just completely false.               It's
  9   our position it's just completely false.             We agreed with
 10   the custodians and they should produce just like you
 11   ordered against Hitachi, just like LG is agreeing to
 12   produce, and just like every other defendant here has
 13   agreed to produce, finished product discovery.
 14                One last point too, your Honor, is this.             For
 15   them to make a burden argument, they have to come up
 16   with some showing of it, some declaration "We have cited
 17   to the law" in there, some declaration, some affidavit
 18   of the cost of what it will do, this really undue
 19   burden.    They made none here, your Honor, because there
 20   isn't any.
 21                In fact, Mr. Kessler's letter, I think we have
 22   attached it as Exhibit 12, he says "We will now proceed
 23   on a finished product discovery on a custodial basis,"
 24   but he preserves his objection.
 25                Then later when your Honor ordered the


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  1   contention interrogatories, "Oh, no, we got to stop, we
  2   have to wait for your discovery and then we will decide
  3   whether we will give it."
  4               The fact of the matter here is there is no
  5   undue burden on behalf of the defendants.             We are not
  6   required to make a prima facie showing.             And in fact, we
  7   have agreed on the custodians, and we have agreed on the
  8   people that they are to search, and Panasonic, each of
  9   the Panasonic entities should produce finished product
 10   responsive material just like the other defendants.
 11               Thank you, your Honor.
 12               THE COURT:     All right.      Anything else from the
 13   plaintiffs?
 14               All right.
 15               MR. HEMLOCK:      Thank you, your Honor, Adam
 16   Hemlock for the Panasonic defendants.            As a threshold
 17   matter, your Honor, obviously if the Rule 11 motion is
 18   granted, this should all go away.
 19               The specific nature of the discovery that we
 20   understand they are seeking, and your Honor is right
 21   that their motion brief in that regard, the letter is a
 22   little unclear about exactly what it is they are talking
 23   about when they say they're moving to compel production
 24   of CRT product discovery, we -- we have interpreted it
 25   to mean that they are specifically looking for document


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  1   litigation information relating to the alleged CRT
  2   products conspiracy.
  3               THE COURT:     That's --
  4               MR. HEMLOCK:      Now, I'll get in a moment to the
  5   issue of unitary versus unitary versus non-unitary and
  6   so on, but that is the scope of the discovery that
  7   Panasonic is objecting to produce.
  8               Even if the Rule 11 motion is denied, your
  9   Honor, for reasons I'll explain in a moment, we still
 10   believe that the motion to compel is -- should be denied
 11   as well, that not only are what they seeking is
 12   burdensome, but we don't believe there is any
 13   established likelihood that the discovery they are
 14   seeking exists, and --
 15               THE COURT:     Seeking what?
 16               MR. HEMLOCK:      The discovery that they are
 17   seeking actually exists --
 18               THE COURT:     As it says --
 19               MR. HEMLOCK:      -- in discovery.
 20               MR. SIMON:     Okay.
 21               MR. HEMLOCK:      And furthermore, with respect to
 22   this unitary conspiracy about which we have heard a lot
 23   today, frankly we are already producing documents that
 24   would be directly relevant to that.
 25               Of course the Panasonic defendants deny that


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  1   that discovery -- that that conspiracy exists, but they
  2   have the list if you look at the categories of documents
  3   in discovery that we have agreed to produce, it would be
  4   directly relevant to such an alleged conspiracy.
  5               If you look, your Honor, at the plaintiffs'
  6   positions --
  7               THE COURT:     Now, wait a minute, wait a minute,
  8   wait a minute.      I read your opposition as saying that
  9   you have produced the documents under duress, both CRTs
 10   and finished products.
 11               MR. HEMLOCK:      Right.
 12               THE COURT:     If it's within a document, then
 13   says both, you produced it.
 14               MR. HEMLOCK:      Right.
 15               THE COURT:     So the only thing you are not
 16   producing then are those documents which might be
 17   responsive to a call of the discovery that simply talks
 18   about finished products.
 19               Is that the --
 20               MR. HEMLOCK:      That -- that -- well, to be more
 21   precise, your Honor, that would be searching for and
 22   producing documents that relate solely to the finished
 23   product element --
 24               THE COURT:     Well, that's what I mean.
 25               MR. HEMLOCK:      -- of their alleged conspiracy.


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  1               THE COURT:     Yes, well, that's what I mean.
  2   That's what I mean.       Okay.
  3               MR. HEMLOCK:      Yes, you are correct.
  4               THE COURT:     All right.
  5               MR. HEMLOCK:      So the briefing, your Honor,
  6   that the plaintiffs have put in, they talk a lot and
  7   refer today about this prima facie showing, and they
  8   talk a lot about how the complaints set forth their
  9   conspiracy theory, and then there was a motion to
 10   dismiss, and those motions were denied.             And now they
 11   believe that they are entitled to all discovery based on
 12   whatever they had in the complaints.
 13               It's a little bit of the flip side of the Rule
 14   11 which is your Honor is entitled to actually not just
 15   look at what was -- what existed at the time of the
 16   complaints, but up until where we are now.
 17               And the big missing picture that they don't
 18   address in their brief is that we have their
 19   interrogatory responses which show clearly, as
 20   Mr. Kessler argued today and Mr. Simmons argued, that
 21   they don't have a legitimate Rule 11 basis for the
 22   finished products conspiracy that they are alleging.
 23               And you know, I won't go through it again, but
 24   there are the interrogatory responses, the Chunghwa
 25   documents that proffer all of that stuff we have heard


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  1   about.
  2               And when you look at all of that, what it
  3   tells us is that they don't have anything to point to to
  4   say that there would be those categories of documents in
  5   Panasonic's files.
  6               But they nevertheless want us to go search
  7   through all these custodians' files and look for them,
  8   and it's the Panasonic defendant's position that that's
  9   unreasonable and unduly burdensome.
 10               THE COURT:     Well, what do you think you have
 11   agreed to by agreeing upon, what was it, 53, 83
 12   custodians?
 13               MR. HEMLOCK:      Well, we -- there is no question
 14   we agreed with plaintiffs' counsel, we have agreed on
 15   their custodians.       The question is what we looked for
 16   within the files of those custodians.
 17               I get the sense that plaintiffs' counsel
 18   believe that -- that agreeing on custodians is kind of a
 19   panacea, that once you have agreed on the custodians --
 20               MR. SIMON:     Well, you see --
 21               MR. HEMLOCK:      -- it's all well and good.
 22               THE COURT:     -- that's kind of the way it
 23   develops here when we started out arguing about a whole
 24   lot of things such as timing and subject matter and
 25   things like that came up at a hearing like this where


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  1   two sides seem to be agreeing.          If you agree on
  2   custodians, you get agreement on that, that would
  3   subsume all the other objections.
  4               MR. HEMLOCK:      Well, your Honor, the problem is
  5   that even though you pick those 53 custodians, and even
  6   beyond the custodians we are producing data, we are
  7   going to be searching through some central files, as
  8   Mr. Kessler pointed out earlier, there are all sorts of
  9   burdens relating to language and so on.
 10               THE COURT:     Oh, I'm sure.
 11               MR. HEMLOCK:      Even 53 custodians is going to
 12   be a material burden.
 13               An as your Honor knows through the procedure
 14   as how discovery gets done these days, we don't take
 15   those 53 custodians and look at every single document
 16   they have in their files, we use some search terms, we
 17   use other methodologies --
 18               MR. SIMON:     Sure.
 19               MR. HEMLOCK:      -- to cut it down.
 20               MR. SIMON:     Sure.
 21               MR. HEMLOCK:      If you had to look at every
 22   single document of all 53 of those custodians, it would
 23   be an unreasonable burden, and frankly, we would have
 24   never agreed to it.
 25               But we anticipate that we are going to take


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  1   that, the volume of the 53 custodians, whatever it is
  2   that results, use some search terms, use some keywords,
  3   and when we think about what is a reasonable burden that
  4   we are willing to accept or not, it's based on what's
  5   going to come out at the end of that process, not just,
  6   you know, the volume of 53 and whether that alone is too
  7   much or too little.
  8                But I think, your Honor, an additional point
  9   that's really important to keep in mind here is what it
 10   is that we have already agreed to produce.             So as you
 11   mentioned, we make the point in our opposition brief
 12   that they have alleged a unitary conspiracy, and then
 13   with respect to, you know, the request, let me list some
 14   requests and I'll say with respect to these we have
 15   agreed to produce the documents if they address both
 16   CRTs and CRT finished products.
 17                And we have heard today about meetings, you
 18   know, CRT tube meetings where finished products were
 19   discussed.     So they also mention in their interrogatory
 20   responses that there was a single set of meetings.
 21                Bearing that in mind, we have agreed to
 22   produce documents produced by the defendant, by the
 23   Panasonic defendants to the DOJ, communications between
 24   competitors, meetings between competitors, detailed
 25   sales data, inventory levels, business plans, planning


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  1   analyses, documents relating to market shares,
  2   production, capacity, sales, shipments.             The full list
  3   is in the brief and I won't bore you with it.
  4               But the point is, if you take their assertions
  5   at face value, that there was a single set of meetings
  6   with respect to both, and we have agreed to produce all
  7   these categories with respect to CRT tubes, and CRT
  8   finished products were discussed at those meetings, the
  9   impact, all of that stuff, then what we have agreed to
 10   produce, frankly, your Honor, is to capture what it is
 11   that they are looking for.
 12               Now, what they want us to go beyond that to do
 13   is to find some document, you know, if it exists, where
 14   this, the finished product element of the alleged
 15   conspiracy was discussed on kind of a standalone basis.
 16               And let me provide one clear example of why
 17   that would be burdensome.         Our client, MTPD, one of the
 18   companies that we have talked about today, was a tube
 19   maker.    All they do all day is they do out and meet
 20   television manufacturers and try to sell them product.
 21   Now, if we had to go through all of that stuff, all of
 22   their e-mail communications --
 23               THE COURT:     But hasn't that been answered by
 24   your already identifying the custodians you are going to
 25   search their files?


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  1                MR. HEMLOCK:     Well, what it identifies is
  2   whose files we are going to have to look for for those
  3   documents.
  4                THE COURT:     Yeah.
  5                MR. HEMLOCK:     But to have to go through
  6   thousands of innocuous documents where some guy says
  7   "Oh, I met with, you know, the TV division of so and so
  8   company and, you know, we negotiated a price or we have
  9   to supply by so and so date," we are going to have to go
 10   through all of those documents because those are
 11   meetings between a TV -- a tube manufacturer, in this
 12   case us, and a TV manufacturer, and that are going to be
 13   entirely innocuous.
 14                THE COURT:     So after you have scanned the
 15   document onto your computer software system, okay, you
 16   have designed your search terms, you want it to be in
 17   such a way that anything pertaining to CRT finished
 18   products that doesn't include another way to catch it,
 19   another hook on the definition --
 20                MR. HEMLOCK:     That's actually --
 21                THE COURT:     -- doesn't get selected.
 22                MR. HEMLOCK:     There are actually two -- well,
 23   you raise a good point.
 24                There are really two complexities to this.
 25   One is coming up with search terms that would -- you


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  1   would have to capture certain -- you would have to use
  2   search terms that capture all the communications between
  3   MTPD or our tube business and its customers.              And to do
  4   that, you are going to have to come up with search terms
  5   that not only would capture that, but would have to be
  6   even broader, we would have to look through even more
  7   nonresponsive stuff.
  8               But secondly, once you use those search terms,
  9   your Honor, all those documents get pulled up and then
 10   you have to have an army of reviewers going through all
 11   of them.    And I just picture all these reviewers sitting
 12   there reviewing tons of innocuous communications between
 13   the company and its customers with, you know, when is it
 14   we have to bid for the next round or how much is the
 15   price or how do we need to change the tube to satisfy
 16   you and all of that stuff, none of which is going to
 17   have anything to do with, you know, this alleged TV
 18   conspiracy, which as Jeffrey pointed out, we just think
 19   there doesn't seem to be any evidence that it exists and
 20   they are asking us to undertake this huge burden to look
 21   for this.
 22               I mean, you know, we use the term "fishing
 23   expedition" in a lot in these types of case.              I honestly
 24   believe this is really the appropriate example where
 25   four years into the case we are just not seeing any


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  1   evidence of this unitary conspiracy, but they want us to
  2   dig around and look for it.
  3                And that's what we object to.
  4                THE COURT:     But your search is going to
  5   include any document that pertains to CRTs and finished
  6   products, and finished products.
  7                MR. HEMLOCK:     Correct.     Correct.
  8                THE COURT:     Okay.   Counsel?
  9                MR. KESSLER:     Your Honor, if I could just say
 10   one thing?
 11                THE COURT:     Yeah.
 12                MR. KESSLER:     Is reason for this is, this is
 13   the way to look at it, we will put in all the CRT search
 14   terms.    So if it refers to CRTs, it's automatically
 15   going to get picked up with all CTR competitors, whether
 16   or not it has something about finished products.
 17                THE COURT:     Sure.
 18                MR. KESSLER:     What we think is unduly
 19   burdensome for these custodians is to pick up documents
 20   simply because it only mentions a finished product and
 21   has nothing to do with a CRT except for things like say
 22   price data and -- you know, in other words, we'll give
 23   them prices of televisions and all that, that's a
 24   separate, that's not a custodian issue, that's just a
 25   pricing list data, that's a separate thing.


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  1               But the burden here is so that if you have a
  2   custodian who -- who -- who did something with another
  3   television company having nothing to do with CRTs, it
  4   will get picked up.       And if it gets picked up, it could
  5   be hundreds of thousands or a million more hits which we
  6   have to review.      And that's -- that's the burden.
  7   That's the burden.       For the same custodian.
  8               Because you remember we are also talking about
  9   a period of, you know, they want to go back 18 years,
 10   and they want to do this globally.
 11               So it's not like we are talking about oh,
 12   let's just do the last three years of somebody's hits.
 13   Any time you add this way, the expansion becomes quite
 14   gigantic.
 15               MR. RICK SAVERI:       Your Honor, if I --
 16               MR. HEMLOCK:      I'm sorry, I just have a couple
 17   more points.
 18               MR. SAVERI:      Absolutely.     Just let me know
 19   when you are done.       We'll pick it right up.
 20               MR. HEMLOCK:      Your Honor, counsel for
 21   plaintiffs made a point in their brief and also today in
 22   oral argument about a purported flip-flop, that they
 23   claim that we had agreed to produce finished products,
 24   conspiracy documents --
 25               THE COURT:     So you entered into a stipulation


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  1   or an agreement, if it wasn't an agreement, I'm not
  2   concerned with it.
  3               MR. HEMLOCK:      Well, if I just may point out
  4   that I believe what they are relying on is a letter that
  5   was sent by Mr. Kessler in September 21, 2010, and all
  6   he said, your Honor, is that we were willing to consider
  7   proceeding that way.       We were willing to discuss it.           We
  8   never agreed to it or committed to it.
  9               Your Honor, we frankly agree that once it was
 10   clear that we couldn't get responses to the
 11   interrogatories and we wanted to see what those
 12   responses were, and your Honor, when you ordered them to
 13   respond to those interrogatories, you expressly pointed
 14   out in your order that the responses would be directly
 15   relevant to the scope of discovery in the case.               And you
 16   know, we -- we took you up on that.
 17               THE COURT:     Uh-huh.
 18               MR. HEMLOCK:      And we expressly told them that
 19   we felt that was directly relevant.            We weren't willing
 20   to undertake this extra burden to look for these extra
 21   documents unless we thought there was a Rule 11 basis to
 22   do so, and that's why we are where we are today.
 23               THE COURT:     Uh-huh.
 24               MR. HEMLOCK:      Thank you.
 25               MR. SHAPLAND:      Your Honor, Eric Shapland on


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  1   behalf of LG Electronics.
  2               THE COURT:     Yes.
  3               MR. SHAPLAND:      I just want to make one point.
  4   I don't want you to be left with a misimpression that we
  5   have a final agreement.
  6               THE COURT:     You --
  7               MR. SHAPLAND:      I don't want you to be left
  8   with a misimpression that we have final agreement with
  9   the plaintiffs with respect to finished products, the
 10   scope of finished product discovery.            We still stand
 11   behind our March 21st letter to you which describes the
 12   implications of plaintiffs' inadequate discovery
 13   responses on the scope of finished product discovery.
 14               And we will stand by those principles in that
 15   letter to the extent that we are sitting down and making
 16   decisions about who should be a custodian on the
 17   finished product side of the case.
 18               THE COURT:     Okay.
 19               MR. SAVERI:      Your Honor?
 20               THE COURT:     But to the extent you agree on
 21   custodian, what are you doing about finished products?
 22   You are producing?
 23               MR. SHAPLAND:      Right.
 24               MR. SAVERI:      They are producing finished
 25   product responsive material.


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  1               THE COURT:     Finished, if you agreed on the
  2   custodians.
  3               MR. SAVERI:      Right.
  4               THE COURT:     I guess you can finish
  5   discussions.
  6               If you reach an agreement on custodians you
  7   are agreeing that your discovery, your production by
  8   those custodians will include finished products
  9   information.
 10               MR. SHAPLAND:      That's right.      We are taking a
 11   different approach to managing the --
 12               THE COURT:     No, I understand.        I understand.
 13               MR. SHAPLAND:      You know, it's costing upwards
 14   of $100,000 with going through custodians' documents.
 15               MR. SIMON:     I understand.
 16               MR. SHAPLAND:      We have the same burden --
 17               THE COURT:     Each company has its own reasons
 18   for taking a specific position.           I respect that.
 19               MR. SAVERI:      If I may, your Honor?
 20               THE COURT:     Yes.
 21               MR. SAVERI:      I'd like to pick up with where
 22   Mr. Kessler left off and saying that the burden of going
 23   into these custodians to look, there has been no showing
 24   made, your Honor, no declaration of costs, time,
 25   anything as to that burden.           There is just a blanket


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  1   claim.
  2                Your Honor, on behalf of plaintiffs, there
  3   will be no -- it will be very easy for them to get and
  4   review that material.        It's the same showing, your
  5   Honor.     They haven't made any on that point.
  6                I also, it's like Yogi Berra, it's deja vu all
  7   over again, your Honor.          And I can't believe they said
  8   it, and I wrote it down.          And the position of Panasonic
  9   is if they don't believe the conspiracy exists, we don't
 10   get any discovery.
 11                THE COURT:    No.     Okay.
 12                MR. SAVERI:     That's what they just said.
 13                THE COURT:    No, I understand that.
 14                MR. SAVERI:     All right.     And we have a
 15   sustained complaint, your Honor.           And the whole purpose
 16   of it --
 17                THE COURT:    I understand.
 18                MR. SAVERI:     And I want to make another point,
 19   your Honor.     The whole purpose of, your Honor, we went
 20   to this custodian based approach, is to get at the issue
 21   of the finished products.          What they --
 22                THE COURT:    Well, among others.
 23                MR. SAVERI:     Among other things, your Honor,
 24   correct.
 25                But what they are saying now is when they get


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  1   these custodians, these 53 custodians and they collect
  2   the material, when and if they find material of
  3   Matsushita, Panasonic or MTPD talking only about
  4   televisions, fixing prices on televisions, they are
  5   going to exclude them.
  6               THE COURT:     Yeah, I think that's right.
  7               MR. SAVERI:      That's what they want to exclude,
  8   your Honor.
  9               THE COURT:     Right.
 10               MR. SAVERI:      That's why we are moving to
 11   compel.
 12               THE COURT:     I think the thing that leads him
 13   to that result is the fact that you have now defined the
 14   conspiracy as being a unitary conspiracy involving both
 15   products.
 16               MR. SAVERI:      Well, it does involve both
 17   products, and that's just it.          That's just it.
 18               And one thing on that, your Honor, he talks
 19   about MTPD.     MTPD.    MTPD, your Honor, is a joint venture
 20   between Matsushita and Toshiba.          But during the
 21   conspiracy, MTPD didn't exist the entire time.
 22   Matsushita, the tube and TV company, attended.               Toshiba
 23   attended.     LG Electronics.       The tube and TV companies.
 24   Same companies going to the conspiracy, conspirators
 25   going to conspiracy meetings.


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  1                Then seven years down the road, oh, let's form
  2   a joint venture where we spin off our tube manufacturing
  3   facilities, we both own it, and we buy the product.
  4   That's what they are doing here, your Honor.
  5                So actually, the TV and tube company,
  6   Matsushita Electronics is attending the meetings.               TV
  7   and tube.
  8                So that's why we want that material, your
  9   Honor, of the discussions regarding if it's only TV
 10   related.     It's not just tube people attending, your
 11   Honor.     They are both.     It's a company that does both
 12   products, your Honor.
 13                It's a very, very relevant thing.
 14                THE COURT:     All right.
 15                MR. SAVERI:     The other point here where they
 16   are making is that it will be very difficult to look for
 17   the material that because we sell it to our customers,
 18   that MTPD would sell it to customers.            Well, the
 19   material the customers are selling it to are the other
 20   coconspirators that are here before you, your Honor.
 21   That's why we want it.        We exactly want the discussions
 22   of when Matsushita or MTPD talks to Hitachi about buying
 23   tubes.     That's exactly why we want them to look at it.
 24   Because they said "Hey, by the way, we just got back
 25   from the conspiracy meeting, we've got to set TV prices


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  1   at X."    That's why they want them to talk to their
  2   customers.     That's exactly the point.         They want to
  3   exclude that.
  4                So that once again, your Honor, all the other
  5   defendants are on board.         We feel here with Panasonic --
  6                THE COURT:     Well, no, yeah, I don't pay much
  7   attention to that because every company can have its own
  8   reasons for agreeing or not agreeing on the work its got
  9   to do to produce.       And somebody may say well, we have
 10   got so little, what could possibly be there, we are not
 11   going to disagree at all, we are just going to crank the
 12   computers out, check all the e-mails, and produce
 13   everything.     It's easier than sorting.           Others may say
 14   no, that burden is too big, it's too heavy, too much to
 15   do.
 16                So everybody may have their own reasons.
 17                MR. SAVERI:     That's correct, your Honor.
 18                But there still has been no showing as far as
 19   burden here.
 20                MR. SIMON:     I agree.    I agree there has not
 21   been a factual showing of burden.           Okay.
 22                MR. SAVERI:     Thank you, your Honor.        Enough
 23   said.
 24                Thank you, your Honor.
 25                MR. HEMLOCK:     May I just make one more point,


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  1   your Honor?
  2               THE COURT:     Sure.
  3               MR. HEMLOCK:      Sorry.    I would just note, by
  4   the way, that all of this is also in the context of what
  5   we have already agreed to produce.           We have produced
  6   already, your Honor, tens of thousands of documents.                I
  7   believe we produced 5,000 documents today.             We have --
  8   I'm sure at the end there will be hundreds of thousands,
  9   again all directly what we believe is addressing this
 10   alleged unitary conspiracy.
 11               So I can say with confidence there will be a
 12   lot of stuff that the plaintiffs will be receiving that
 13   will also be in that bucket.
 14               MR. SAVERI:      Yeah, but "a lot of stuff" is not
 15   relevant stuff.
 16               THE COURT:     I know, I know.       We could package
 17   up the New York telephone directory and send it to you
 18   and it would be --
 19               MR. SAVERI:      It would be a lot of pages, your
 20   Honor.
 21               THE COURT:     -- 200,000 pages and 100 million
 22   line items.
 23               But you know, I understand.
 24               MR. SAVERI:      I appreciate it, your Honor.
 25               THE COURT:     Come on now.


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                                                                          Page 162
  1               MR. SAVERI:      It's tough to hear, your Honor.
  2               THE COURT:     Okay.    Submitted?
  3               MR. SAVERI:      Submitted.
  4               MR. KESSLER:      Thank you, your Honor.         We
  5   appreciate your time very much.
  6               THE COURT:     Thank you.
  7               MR. KESSLER:      Thank you for your patience.
  8               (Whereupon, the proceedings were
  9               adjourned at 1:31 P.M.)
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  1                       CERTIFICATE OF REPORTER
  2
  3               I, COREY W. ANDERSON, a Certified Shorthand
  4   Reporter, hereby certify that the foregoing proceedings
  5   were taken down in shorthand by me, a disinterested
  6   person, at the time and place therein stated, and that
  7   the proceedings were thereafter reduced to typewriting,
  8   by computer, under my direction and supervision;
  9               I further certify that I am not of counsel or
 10   attorney for either or any of the parties to the said
 11   proceeding, nor in any way interested in the event of
 12   this cause, and that I am not related to any of the
 13   parties thereto.
 14
 15                    DATED:
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 19                                __________________________
 20                             COREY W. ANDERSON, CSR NO 4096
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